Exhibit A
                                          Kathleen Eastman                                           4 (7 - 10)
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1    multiple people are talking on the record so           1    Q.       How long have you lived in the City of
 2   I'm going to ask you to let me finish                   2   Philadelphia?
 3   questions completely and I'll let you answer            3   A.       Well, I was born in the City, in
 4   completely.     If for any reason I would               4   Kensington, and left when I got married.          And
 5   interrupt, please just let me know.    I will           5   I came back to the City to live six years ago
 6   give you as much time as you want.                      6   -- oh, I'm sorry, I also lived in the
 7           If you cannot hear a question because           7   Fishtown section of the City for about two
 8   of any kind of audio issues, computer issues,           8   years in the '90's while I was separated from
 9   whatever, just ask me to repeat.     If you             9   my husband.      And then last time I came back
10   don't understand a question, I can be                  10   was six years, within the City limits, yes.
11   imprecise at times, please just ask me to              11   Q.       Okay.    And what neighborhood do you
12   rephrase.    But if you answer a question, I'm         12   live in currently?
13   going to assume that you both heard it and             13   A.       Old City.
14   understood it; is that fair?                           14   Q.       Is this the same neighborhood that
15   A.      Yes.                                           15   you've lived in the entire six years?
16   Q.      Okay.   This shouldn't go on for too           16   A.       Yes, it is.
17   long, but if you do need a break, just let us 17            Q.       Okay.    Have you stayed in the same
18   know.   I will ask that you answer whatever            18   address the whole time?
19   question was currently pending at that time            19   A.       Over the last six years?
20   and then we can go on a break.                         20   Q.       Yes.
21   A.      That's good.                                   21   A.       Yes.
22   Q.      So just to start off, how long had you 22           Q.       Okay.    What address is that?
23   had a driver's license?                                23   A.       122 Church Street, Unit 104.      It's a
24   A.      Oh, 45, 50 years.                              24   condo.
                                                   Page 8                                                     Page 10
1    Q.      I actually forgot one more                     1    Q.       Okay.    What is parking like in that
 2   instruction, if you are going to -- I'm going           2   area?
 3   to ask you not to guess, but if you are going           3                    MS. MANOHAR:   Object to the
 4   to approximate, just let us know.    That's a           4            form.    You can answer.
 5   perfect example, it does not have to be                 5                    THE WITNESS:   Okay.   I tell
 6   precise.                                                6            everyone it's my nemesis.      Parking
 7   A.      Okay.   I'm 75, I think I got it when I         7            is difficult and you live your life
 8   was 21 or 22, I was a lot older than my                 8            around that if you have to move
 9   friends at the time.    But I think that's              9            your car.    That's how I would
10   accurate.                                              10            describe it.
11   Q.      Have you been involved in any car              11                    But recently I have been given
12   accidents?                                             12            parking -- allowed to park at my
13   A.      Oh, yes.   Driving for so long, yes.           13            work parking lot in off hours.      So
14   Q.      Okay.   Have you been involved in any          14            I have that to fall back on over
15   in the last, let's say, five years?                    15            the last two years, since COVID,
16   A.      No, I have not.                                16            which makes it easier for me.
17   Q.      How many parking violations have you           17 BY MS. REINHART:
18   had?                                                   18   Q.       Where do you work?
19   A.      Probably the most I have ever had are          19   A.       I currently work at -- do you want to
20   in the City of Philadelphia, I don't know how 20            know the name of the company?
21   many.   But I think that is the only place,            21   Q.       Sure.
22   even when I lived in the suburbs, I think I            22   A.       Or the location?
23   have gotten a ticket in the City of                    23            It's called the American Bible
24   Philadelphia, yes.                                     24   Society, it's a nonprofit.       It's located at

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1    Fourth and Market.    I had left my prior             1    meters.   We don't have to put money in the
 2   employment and was offered -- I saw an ad for          2   meter, we can park there all day, overnight
 3   part-time work, so I work for them since               3   if necessary, yes.
 4   April of 2019.                                         4   Q.      Okay.    So just to make sure that I
 5   Q.       Okay.   So circling back to the               5   understand.     You're saying that there are a
 6   description that you gave of parking in your           6   lot of businesses in the area?      Just to start
 7   area.    You said -- and I don't mean to               7   out.
 8   mischaracterize it, but you described it               8   A.      Yes.    Yes.   It's Old City, we are
 9   generally as difficult.    Can you elaborate on        9   competing with restaurants, we are competing
10   what factors make it difficult?                       10   with the Arden Theatre.      We are competing
11   A.       There are just so many people who have       11   with buses that are bringing tourists into
12   cars that are trying to park in the Zone 10           12   the area, that's it.      So you're very
13   where I live, specifically in the area like           13   cognizant, at least I am very cognizant, or
14   from Front to Arch, I'll just say that block          14   if anybody does get a resident permit and
15   area, and Front to Second.    And the reason is 15         moves into the area, they become very
16   is that in order to have residential parking, 16           cognizant of, you know, what it means to have
17   the City will grant residential parking if            17   -- to get a parking space in that area, so
18   there are only less than, what, 10 percent,           18   yes.
19   I'm not sure the amount of businesses located 19                   Does that answer it again?     I hope so.
20   in the area.     So, you know, Second Street          20   Q.      It does, yes.     Thank you.
21   where there are restaurants and things of             21   A.      Okay.
22   that sort, there isn't residential parking.           22   Q.      So before you were parking at the
23   So even though there may be condos above              23   American Bible Society's parking lot, it
24   those businesses, there is still not parking          24   sounds like you regularly parked in this
                                                 Page 12                                                    Page 14
1    there.   It's only limited to blocks that are         1    area?
 2   mostly residential.                                    2   A.      I regularly park in the street.     The
 3            Does that make sense what I'm saying?         3   only time I go to my employer is when -- for
 4   Q.       I'm just going to ask a couple                4   safety reasons right now, like if I were to
 5   clarifying questions.    You said residential          5   come home after 8:30 or 9:00, I would circle
 6   parking a few times.    What do you mean by            6   the block to see if there was anything
 7   that exactly?                                          7   available.     And if not, then I would just go
 8   A.       Well, the City will grant Residential         8   to my parking garage and park there and take
 9   Parking Permits to residents of the City in            9   the bus back to my home.
10   areas where they live.    And so in my area of        10   Q.      Okay.    Let me clarify the timeline
11   Old City, it is a Zone 10 parking.    So you          11   real quick.     You said you started working at
12   are allowed to park on certain streets,               12   the American Bible Society approximately
13   certain sides of streets because -- so the            13   April 2019?
14   parking is given to residents for free if             14   A.      Correct.
15   they purchase a parking permit annually.       And 15      Q.      And that you have been able for the
16   there are meters there, but the parking               16   last two years to park in their parking lot;
17   permit allows those residents to park without 17           is that correct?
18   paying a meter fee.                                   18   A.      I think for the last six months.       And
19            So it means that we are competing with 19         it has to do with when I work there, I'm just
20   someone that may be coming into the                   20   a part-time person.      Once COVID came,
21   neighborhood and park in those spaces and pay 21           everyone was working from home and the
22   a metered -- an amount for the metered                22   facility manager said -- I asked him, if I
23   parking, two or three hours, and the                  23   was stuck, if I could ever park in the work
24   residents are not limited to the parking              24   parking lot, and he said yes I'll give you a

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1    I know what times are the best for me to go           1    I'd say no, I'm not, you know, maybe you need
 2   and come back and be able to park on the               2   to get rid of your car too.    So you do it
 3   street.   That's not always -- that doesn't            3   first and then I'll do it.
 4   always happen.                                         4   Q.     Okay.    Is PPA active in your area?
 5            In the past before my employer allowed        5   A.     Very, yes.
 6   me to come there, I would park and every half          6   Q.     On what blocks?
 7   hour move my car because it was in a towing            7   A.     Every block I have seen them.      I don't
 8   zone or something, it was not a way to live.           8   know what the schedule is.    But there is bars
 9   Q.       Okay.   That's not what I asked.              9   on Second Street, there is all kinds of
10   A.       Okay.                                        10   activity, you know, people are all over in
11   Q.       What I'm asking is, when you go to           11   town, there are all kinds of things
12   park your car, generally speaking, what time          12   constantly.    You will see the officers and
13   of day is that?    I can expand on other              13   you will also see the trucks towing vehicles
14   questions after that.    I just need to know          14   down to the lots, yeah.    Very active.
15   what time you're typically trying --                  15   Q.     How often do you see cars being towed
16   A.       I don't leave my house the same time         16   in your neighborhood?
17   everyday to do certain things.    I live a            17   A.     Goodness, I'm not looking out my
18   pretty normal life, I'm not limiting my life          18   window for all that all the time, no.      I'm
19   by the parking.    I don't like it, but I             19   just cognizant of it.    And that PPA will
20   follow the rules.    And if I need to do              20   ticket cars.    It's not a friendly city for a
21   something that is -- that I'll be out later           21   tourist or anyone else to come.
22   or something, then I need to make sure that I 22                  So I know friends that have come to
23   have it all setup, that's all.                        23   visit me and have gotten tickets, you know.
24            You know, when I park at Fourth and          24   I don't know what to say about that.      I don't
                                                 Page 20                                                   Page 22
1    Market, I still have to walk home.    So again,       1    know the number.    I know that it's part of my
 2   I'm trying to make sure that I get my car              2   life down here, yes.
 3   parked where I won't get it ticketed, or that          3   Q.     When you tried to park your car, how
 4   I'm not paying $20 to park it for a few                4   long do you typically spend looking for a
 5   hours.    Remember also the parking in the             5   parking space?
 6   city, especially in Old City is expensive.             6   A.     Right now, it's probably maybe 20
 7   Q.       So just as a matter of habit, is it           7   minutes at the most.    Twenty minutes to a
 8   fair to say that you do not drive your car             8   half an hour.
 9   everyday?                                              9          Prior to the back up from my
10   A.       That is correct.                             10   employer's lot, I would spend hours.      I would
11   Q.       How often do you drive your car,             11   wake up because some parking that the city
12   approximately?                                        12   will allow is, they will allow it on the
13   A.       That depends on what is happening.     I     13   north side of Arch Street from 8 p.m. to 8:00
14   would say every weekend I'm doing things.             14   in the morning, so I would park there if it
15   During the week, if I can take public                 15   was available after 8 p.m. and, you know,
16   transportation across the city, I would do            16   make sure my alarm was set so that I would be
17   that.    If it's a friend that is doing               17   up at 7:30.    And if nothing was available,
18   something and invites me -- for instance,             18   I'd keep moving my car from parking -- from
19   there is something in November and we are --          19   loading zones every half hour.    It was awful,
20   friends are getting together, I will go, it's 20           but I remember those times.
21   in the evening.    I'm not going to not do            21   Q.     Again, all of my questions for the
22   something socially because of the parking.            22   next foreseeable bit are going to be just
23            So my children might say to me, I            23   about before you had the ability to park at
24   think you need to get rid of your car.      And       24   your employer's parking lot.

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1           son lives in Northern Liberties.                 1    in time your vehicle was towed; is that
 2 BY MS. REINHART:                                           2   correct?
 3   Q.     Okay.    I am going to ask you really             3   A.      Yes.
 4   carefully to listen to my questions that I'm             4   Q.      Can you tell me about when that was?
 5   asking.    Just now I asked what neighborhood            5   A.      Yes.   It was Veteran's Day, the Monday
 6   you are currently in.    So I can follow-up              6   that it's celebrated.    Veteran's Day which is
 7   with additional questions after that because             7   usually around the 9th or 10th, and it was
 8   a lot of times things build on each other.               8   November 9th of that year, I think it was
 9   But I am going to ask you really carefully to            9   2019.
10   listen to the questions that I am asking.               10           And I had taken my car to the car wash
11   A.     I thought I was Shelly, I apologize.             11   on Delaware Avenue, and I came back and
12   Q.     That's fine.    Depositions are                  12   parked my car on the south side of Arch
13   stressful and I hear that.     So I'm just              13   Street in the 100-block and it was towards --
14   asking you just to listen carefully.                    14   on Arch Street towards Front Street, goes
15          And can you answer what neighborhood             15   from Front to Second Street and I parked
16   you are currently in?                                   16   closer to Front Street, and I'm guessing it
17                  MS. MANOHAR:    I'm going to             17   was around 1:00 or 2:00 in the afternoon.
18          object.    She did answer that                   18   And I spent some time cleaning the windows,
19          question previously, I believe more              19   because I had just got the car washed, and
20          than once.    But you can answer.                20   also just kind of straightening up inside the
21                  THE WITNESS:    Yeah, in Old             21   car and taking out any kind of trash that I
22          City.                                            22   could find on the inside.
23 BY MS. REINHART:                                          23   Q.      Do you recall approximately how long
24   Q.     Okay.    So how long have you owned your         24   you spent doing that?
                                                   Page 28                                                   Page 30
1    vehicle?                                                1    A.      I think 20, half hour.
 2   A.     My current vehicle?                               2   Q.      So what time, approximately, would you
 3   Q.     Yes.                                              3   have walked away from the vehicle then?
 4   A.     I'm trying to think, maybe ten years.             4   A.      Well, I remember that it was bright
 5   Q.     What is the make and model of the car?            5   sunshine, I don't know, maybe 2:30, 3:00 at
 6   A.     It's a Volkswagen Beetle, 2008.                   6   the latest.    I'm not sure of the exact time.
 7   Q.     Is it insured?                                    7   Q.      When did you come back to your car?
 8   A.     Yes.                                              8   A.      I came back the following Saturday in
 9   Q.     By who?                                           9   the middle of the afternoon.     I was meeting a
10   A.     Erie Insurance.                                  10   friend over in New Jersey and I was probably
11   Q.     When do you typically register your              11   going to go and do some grocery shopping
12   vehicle every year?                                     12   while I was over there.    So, yes, I'm going
13   A.     I believe the current registration is            13   to say, I'm not quite sure of the exact time,
14   for two years, and I believe it is in August. 14             but early afternoon, mid-afternoon, 2:00 at
15   But I think Pennsylvania just initiated a new 15             the latest.
16   law where it would be for two years.                    16   Q.      So walk me through what happened
17          I get it inspected every year, so                17   exactly.   You walk up to where you believe
18   again regularly.                                        18   you parked your car.    You didn't find it.
19   Q.     Do you have any unpaid parking                   19   And then what?
20   tickets?                                                20   A.      You mean, on Saturday when I noticed
21   A.     No, not that I am cognizant of.                  21   the car wasn't there?    I had known from once
22   Q.     So earlier you mentioned that -- we're 22             earlier, maybe two years prior to that, my
23   just taking a step back.                                23   car had been towed from Church Street and I
24          We're here today because at some point 24             had learned that it was -- that you should

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1    call the Sixth District Police and they would       1    know, fill out the report and all.     And so I
 2   give you information about where your car had        2   said just take me home.
 3   been towed.    I knew I was legally parked, so       3          So we were still driving up from Water
 4   there wouldn't be any reason for PPA itself          4   Street and we came across Arch and he kept
 5   to move my car.                                      5   going on Arch rather than making a left turn
 6          So I called the Sixth District and I          6   onto Second and went past the Besty Ross
 7   believe I spoke to the desk sergeant or              7   House and the fire station, I think it is,
 8   someone switched it to him.   And he told me         8   that's on Third, and my car was on that block
 9   that my car had been towed to the 100-block          9   of Arch Street in a metered spot and it had
10   of Water Street.   And so I then sat on the         10   three parking tickets on the windshield.
11   step and called both of my sons, waiting for        11   Q.     I am going to pause you there and ask
12   them to call me back to see if someone would        12   a couple follow-up questions for what you
13   drive me down to Water Street and help me           13   just said.    So you said initially you were
14   find my car.                                        14   transferred to the desk sergeant when you
15          My youngest son said he could take me, 15         called the police.
16   so he came and met me at Front and Arch and         16   A.     Yes.
17   we drove down to Water Street and under 95          17   Q.     How long were you on the phone with
18   and kept driving around and around up and           18   the police the first time that you called?
19   down all the aisles, couldn't find my car.          19   A.     Probably five minutes or something.        I
20   And then we did it again.                           20   think I submitted documents that showed the
21          The entire time I was on the phone           21   record on the -- my mobile phone, how long,
22   trying to reach out also to PPA thinking that 22         you know, I was on the call, I think.     But it
23   maybe they knew where the car was because the 23         wasn't that long because initially, I think
24   police -- I think I was also reaching out to        24   -- again, and I apologize, that the officer's
                                               Page 32                                                  Page 34
1    the police, because my car was not where they       1    name was Chang or Chung, I knew it was
 2   said it was.   So the officer said, well,            2   something like that, but I didn't write it
 3   maybe it's 100 North Water Street.   And I           3   down, I was just interested in picking up my
 4   said to him, I don't think Water Street goes         4   car.
 5   up north, I'm from that area, I don't ever           5          And we have said before my car was
 6   recall there being Water Street above Spring         6   towed once before, and that time I was able
 7   Garden or anything.                                  7   to find it under Water Street.     So when he
 8          So he then said, well, let me call the        8   indicated this time, the officer, that it was
 9   towing company.    And he put me on hold and he      9   parked under -- on Water Street, I thought,
10   came back and said the towing company does          10   okay, great, we'll just go down there and
11   not have your car.    Your car -- maybe your        11   I'll get my car.
12   car has been stolen.   So I think my son and I      12   Q.     Do you know whether that is a typical
13   were out for one and-a-half or two hours, I         13   place for cars to be towed to in your
14   know it was a long time, because my son was         14   neighborhood?
15   getting frustrated as well.                         15                  MS. MANOHAR:   Object to the
16          So the officer said, you're going to         16          form.    You can answer.
17   have to fill out a stolen car report and so         17                  THE WITNESS:   I don't know.   I
18   you're going to need to go back to your --          18          just know that in the first
19   where you parked your car and then call and a 19                instance it was down there.
20   police officer will come out and take the           20 BY MS. REINHART:
21   report.                                             21   Q.     Do you recall whether the sergeant who
22          So I told my son, look, I'll call,           22   directed you to Water Street said if he was
23   just take me home.    I'll call the police, it      23   looking at any certain information?
24   will take them a while to come here and, you        24   A.     No, he did not.

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1    Q.     Okay.    While you were driving looking     1    Q.     So do you recall approximately when it
 2   for the car, you indicated that you were on         2   was first suggested that you fill out a
 3   the phone with, I believe it was the PPA and        3   police report -- a stolen report
 4   police.   Were you calling back and forth           4   specifically?
 5   between the two?                                    5   A.     It was when I couldn't find the car
 6   A.     Yes, I couldn't find my car.   I just        6   and I kept calling back to the police
 7   didn't know what happened to it.   And, again,      7   district, you know, telling them I couldn't
 8   it was no where.                                    8   find my car.
 9          PPA was hard to reach, it was a              9          We had attempted to go up to North
10   Saturday.   I think the only phones that are       10   Water Street, which didn't exist.    It wasn't
11   open in PPA are the ones at the tow lot.      So   11   even on a GPS or anything like that.    We had
12   I did reach PPA, I think they said that my         12   driven around -- not only under 95 at Water
13   car wasn't in their lot.    And then I kept        13   Street, we had driven around the neighborhood
14   calling back to the police district because I 14        too just to make sure that my car wasn't
15   didn't know where my car was.                      15   somewhere along one of the streets that
16   Q.     Do you know approximately how many          16   bordered to that.    So I don't know the exact
17   times you called PPA?                              17   time, I know it was a couple hours after I
18   A.     Yes, a lot, because my phone died, I        18   had first gone out.    It was still daylight,
19   was using it so much.    And then I had to use     19   I'm guessing maybe 3:00 at that point, not
20   my son's phone.                                    20   sure if I started out at noon, you know, it
21          It's impossible -- I shouldn't say          21   was like 3:00.
22   it's impossible, but it's a lot of work to         22   Q.     Okay.    And do you recall whether --
23   reach PPA, at least my experience that is.         23   strike that.    I'm going to keep on moving.
24   Q.     You said that you provided mobile           24          Had there been any temporary no
                                              Page 36                                                  Page 38
1    phone records, would all of those calls that       1    parking signs on that block that you had seen
 2   were not made on your son's phone be within         2   that entire week?
 3   those records?                                      3   A.     I'm not -- I don't usually go around
 4   A.     I think so.    I'd have to go back and       4   that block.    If I'm doing any interaction,
 5   check Shelly.    I don't know.                      5   it's more on Market Street that I'm on foot
 6          Well, yes, the phone companies would         6   so I wouldn't know.
 7   have records of all those.    I don't know how      7          But I had known that the north side of
 8   much I provided, but I was really trying to         8   Arch Street, they were taking an old
 9   settle this with PPA for different reasons.         9   restaurant equipment place called National
10   Was trying to provide as much documentation        10   and making it into condos, so to my knowledge
11   to them that I could because I had been --         11   I known that there were -- throughout that
12   had three parking tickets and then it              12   summer there were some things happening in
13   escalated, the fines.    So I was trying to get 13      the streets, but nothing was there the day
14   this taken care of.    Plus I was up for my        14   that I parked.    I was very cognizant of that,
15   parking permit to be renewed.                      15   again, because I live in that area.
16   Q.     Okay.    You said at one point in time      16          It's a very popular area for film
17   you called the police and they checked with a 17        crews, a lot of things go on, so I'm very
18   tower, I believe?                                  18   cognizant of where I park my car and to make
19   A.     That's what I was told.                     19   sure of that.
20   Q.     Do you know who that tower was?             20   Q.     Have you had to move your car in the
21   A.     No, I do not, no.    I believe I asked,     21   past for film crews doing work?
22   but they wouldn't give it to me.   I can't be      22   A.     Not to move, but not to park.    The
23   certain of that, because again, I was trying       23   signs go up so, you know.    There are all
24   to find out as much information as I could.        24   kinds of things that happen.

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1             The first time my car was towed was            1                     And then a police officer came
 2   because the Water Department -- I was told               2            and knocked on my door and I told
 3   this because the car was towed from Church               3            him what had happened.     And he was
 4   Street, my address, and during the week the              4            talking to the District or
 5   water company had to get into the street, so             5            something, and he drove me around
 6   they towed all the cars away, a neighbor told            6            and he told me that he knew where
 7   me that when I came out and my car wasn't                7            my car was towed to.     So he drove
 8   where I parked it.                                       8            me to the spot and my car was
 9   Q.       Do you recall any other times that              9            there.
10   your car was moved because of some kind of              10 BY MS. REINHART:
11   either utility or construction work?                    11   Q.       Do you recall when that was?
12   A.       Again, I'm not quite sure.     All I know 12        A.       I think it was within the last year or
13   is if there is temporary no parking, I don't            13   so.
14   park there.      I'm not sure whether it's              14   Q.       So some time in 2022?
15   construction, water, or if someone is moving            15   A.       Yeah.    Yes.   Late '20, '21, '22.    It
16   and has petitioned to have some parking in              16   wasn't in the last six months or so, no.
17   the area roped off, just know not to park               17   Q.       Do you know the reason that your car
18   there.    Yes, okay.                                    18   was towed that time?
19   Q.       Okay.    Have you ever had to move your        19   A.       No, I don't.
20   car after it was already parked because of              20   Q.       Do you know who towed it?
21   any kind of work being done?                            21   A.       No.   Again, if my car is legally
22   A.       Not that I can think of.     I think           22   parked, if this happened to me today I would
23   maybe once someone was moving from Church               23   call the Sixth District again and ask them,
24   Street and I had been parked on Church                  24   you know, if they knew where my car had been
                                                   Page 40                                                       Page 42
1    Street, and after I parked there someone put            1    towed.
 2   up a temporary parking that I didn't know and            2   Q.       For the incident that we are here for
 3   I think -- I believe the police came and                 3   today, do you know why your car was moved
 4   knocked on my door and asked me to move it               4   then?
 5   and I moved it.                                          5   A.       No, I do not.
 6   Q.       Do you recall any other time that you           6   Q.       Do you know who towed it?
 7   -- just to let everyone know, I got a                    7   A.       I do not know.     After it was towed and
 8   notification that my internet is unstable so             8   the tickets were issued, I was trying to
 9   please let me know if you can't hear me at               9   gather information to dispute the parking
10   any point.                                              10   tickets that I got.       And I was told that
11            Do you recall any other situation              11   there were several towing companies that are
12   where your vehicle has been towed in the last 12             licensed in the City of Philadelphia that tow
13   six years while you were living in this                 13   cars.    So they gave me the name -- I think it
14   neighborhood of Philly?                                 14   was PPA gave me the name of one company, I'm
15                    MS. MANOHAR:    Object to the          15   trying to think of their name, and I know
16            form.    You can answer.                       16   that I spoke directly to a woman in their
17                    THE WITNESS:    Yes, my car was        17   office, she was very nice -- I want to say
18            towed a third time, I'm not sure if            18   Michelle or something -- and she told me that
19            it was from Front Street or Church             19   her company did not tow my car.       She gave me
20            Street, but I went out and the car             20   the name of four other towing companies in
21            wasn't there.    And then I called             21   Philadelphia that she knew of that also tow
22            the Sixth District and I was told              22   cars.
23            at that time that a police officer             23            So I reached out to those trying to
24            would be out to my home shortly.               24   get information, which was difficult because

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                                               Kathleen Eastman                                    14 (47 - 50)
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                                                      Page 47                                                   Page 49
1           deposition resumed at 2:15 p.m.)                    1                   THE WITNESS:    There are more
 2                         -   -   -                             2          businesses on that block, so it
 3 BY MS. REINHART:                                              3          wouldn't be allowed as a parking
 4   Q.     After a short break we are coming back               4          permitted space, a residential
 5   on to the record.    Can you hear me okay, just             5          permit space.
 6   to start off?                                               6 BY MS. REINHART:
 7   A.     Yes.                                                 7   Q.     Do you know when the car was moved to
 8   Q.     Great.    So circling back to when you               8   that parking spot?
 9   found your car, you said that you found it                  9   A.     No, I do not.    But there were parking
10   the same day that you realized it was lost;                10   tickets, three of them, and I believe I know
11   is that correct?                                           11   from the website that one was issued out each
12   A.     Yes.                                                12   day, I'm guessing Tuesday, Wednesday,
13   Q.     Okay.    And it had been a few hours in             13   Thursday or something like that.      PPA would
14   between when you first realized it was lost                14   have that exactly.
15   until when you found it?                                   15   Q.     So it was three different days that
16   A.     Yes.    You know, yes.                              16   the tickets were issued on?
17   Q.     Can you describe exactly what the                   17   A.     That's correct.
18   parking spot was that it was found in?                     18   Q.     Do you recall whether there was a
19                  MS. MANOHAR:    Would you mind              19   ticket issued for the day that you found it?
20          repeating the question?        You cut              20   A.     I do not believe so but I'm not sure.
21          out briefly.                                        21   I'd have to go back.    But I know it was one
22                  MS. REINHART:      Yeah,                    22   for each day.
23          absolutely.    I also asked a                       23   Q.     How much was -- were all the tickets
24          confusing question.                                 24   the same value to start off with?
                                                      Page 48                                                   Page 50
1 BY MS. REINHART:                                              1    A.     Yes, they were each $36.
 2   Q.     The parking spot that you found it in,               2   Q.     And you said that there was a -- I
 3   can you describe what the restrictions were                 3   forget the word you used, but there was some
 4   on that parking spot?                                       4   type of penalty added after they made some
 5                  MS. MANOHAR:    Object to the                5   kind of determination on your appeal?
 6          form.    You can answer.                             6   A.     I think that if you do not pay a
 7                  THE WITNESS:    No.    All I know            7   parking ticket within 30 days, it is
 8          is that we were driving past -- we                   8   automatically fines are added, unless you
 9          were driving over Arch Street and I                  9   dispute it and you're given that ability
10          was in my son's car, and he went,                   10   online.
11          mom, isn't that your car.          So I             11   Q.     Okay.    What was the amount of the fine
12          looked over and it was in a metered                 12   that was added to these tickets?
13          spot with three parking tickets on                  13   A.     I believe the amount -- well, the
14          it.    That's all I recall.        I know           14   total amount that I had to pay for each
15          that area is not in a permitted                     15   violation then was $110.      So I can do the
16          area for parking for Zone 10.                       16   math in my head, but that's about it, $70.
17 BY MS. REINHART:                                             17   Q.     Okay.    So the total that you ended up
18   Q.     Okay.    So that's the reason that even             18   paying for parking tickets here was $330?
19   though it is within the typical limits of                  19   A.     I believe so, yep.
20   Zone 10, that it still would get tickets for               20   Q.     You said that you were concerned about
21   sitting there?                                             21   how these tickets would affect your ability
22                  MS. MANOHAR:    Object to the               22   to get a Zone 10 Parking Permit.      Did these,
23          form.    You can answer if you                      23   in fact, change your ability to get that
24          understand.                                         24   permit?

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1    A.      I had to pay it in order to get the              1    Eighth Street, Eighth and Filbert.
 2   permit, so I knew that.     So I paid it to get           2   Q.     And that happened in December also?
 3   the permit renewed.                                       3   A.     I believe so.
 4   Q.      When did you get the Zone 10 Parking              4   Q.     Okay.    The parking permits run from
 5   Permit?                                                   5   what, January to January?
 6   A.      Not sure.    From subsequent                      6   A.     No, I believe it's annual renewal, due
 7   conversations, I was told the permit itself               7   when you first secure the parking permit.
 8   would not be mailed because PPA was behind in             8   And then it's an annual renewal at the time.
 9   their mail, but that the officers, PPA                    9   So everyone isn't at the same date.
10   officers would know that I had gotten the                10   Q.     Okay.    Did you have a lapse in your
11   permit and wouldn't issue me a ticket for not            11   permit parking?
12   having a permit.                                         12   A.     I don't believe so.     Again, parking is
13   Q.      Do you recall when it was that you               13   very important to have it down there so I
14   were told you were issued the permit and just 14              know that it has to be renewed.
15   had to wait for it to come in the mail?                  15   Q.     When you found your car, was there any
16                   MS. MANOHAR:    Object to the            16   damage to it?
17           form.    You can answer if you                   17   A.     No.
18           understand.                                      18   Q.     Were there any items missing?
19                   THE WITNESS:    I'm guessing             19   A.     No, not -- no.
20           late December.    I'm not sure.                  20   Q.     Did you have any other damage as a
21 BY MS. REINHART:                                           21   result of your car being towed?
22   Q.      So had you already paid for the                  22   A.     No.
23   parking tickets at that time?                            23   Q.     Okay.    So just from my notes, and they
24   A.      I paid online.                                   24   could be incomplete, so I would like you to
                                                    Page 52                                                   Page 54
1    Q.      Before you got the confirmation that             1    correct me, let me know if I'm missing
 2   you were getting the parking permit?                      2   anything, I have that the total damages from
 3   A.      I went down to the PPA offices at                 3   this were $330 as a result of the three
 4   Eighth and Filbert and got the permit through             4   parking tickets; is that correct?
 5   them.                                                     5   A.     Yes, that's how much money I put out,
 6   Q.      Okay.    My question is about which               6   yep.
 7   happened first.     Did you first pay for the             7   Q.     Okay.    Give me just one moment.
 8   parking tickets or did you first get the                  8          After you found your vehicle, you
 9   permit renewal?                                           9   didn't fill out a police report then,
10   A.      I paid for the parking tickets first             10   correct?
11   online.   And then afterwards when I had paid            11   A.     Correct.    I called the Sixth District
12   for the parking tickets and fine, I then went            12   and told them I found my car.
13   to PPA offices to get the parking permit.                13   Q.     Okay.    Okay.   So an officer didn't
14   Q.      Okay.    Do you recall when it was that          14   meet you at any point that day, correct?
15   you paid the tickets online?                             15   A.     Correct.    I never called back to say
16   A.      No, I don't.    I'm guessing could be            16   my car was stolen in order for a police
17   December.                                                17   officer to come back to the space where I
18   Q.      Okay.    So you're saying you paid for           18   left my car.
19   the tickets online in December and you also              19   Q.     Did you file an insurance claim for
20   got the parking permit in December?                      20   this incident at all?
21   A.      I went to get the parking permit, I              21   A.     No.
22   hadn't got -- I secured the parking permit               22   Q.     I think I know the answer to this but
23   through PPA after I paid the tickets.       I            23   I'm going to ask it anyway:     Did you receive
24   believe I went to their office right on                  24   any kind of medical treatment?

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                                            Kathleen Eastman                                      17 (59 - 62)
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                                                  Page 59                                                     Page 61
1                   You can answer.                         1                     MS. REINHART:    It's
 2                  MS. REINHART:    I'm not asking          2            approximately 2:40 right now, so
 3          upon information and belief.       I'm           3            let's plan to come back at 2:45.
 4          asking if she has any knowledge                  4                            -   -   -
 5          that the City towed her car.                     5                    (Whereupon, a brief recess was
 6          That's the specific question that                6            taken at 2:40 p.m. and the
 7          I'm asking her.                                  7            deposition resumed at 2:45 p.m.)
 8                  MS. MANOHAR:    You can answer           8                            -   -   -
 9          if you understand.                               9 BY MS. REINHART:
10                  THE WITNESS:    I understand.    I      10   Q.       Going back on the record, we just took
11          was told that the City licensed                 11   about a five-minute break.
12          five companies to tow cars in the               12            The only questions that I have
13          city.    So did those -- so the City            13   outstanding are what are you looking for from
14          was responsible for the towing.       So        14   this lawsuit?
15          that's my answer.      I don't know             15   A.       Hoping that some changes will be made
16          what else to say.                               16   so that this doesn't keep happening in the
17 BY MS. REINHART:                                         17   city.
18   Q.     Okay.    You said that you reached out          18   Q.       Okay.    So what you're looking for is
19   to these five towing entities, correct?                19   policy change essentially?
20   A.     Yes.                                            20   A.       I'm not sure how -- yes, I guess it
21   Q.     And you didn't find out who it was --           21   would be policy.      How you handle -- how the
22   or rather none of those five entities said             22   City would handle towing of cars.        How the
23   that they towed your car?                              23   City would handle licensing of those towing
24   A.     Of the five entities, I think maybe             24   companies.    It seems to me a fairly easy fix
                                                  Page 60                                                     Page 62
1    two said they didn't, and the others didn't            1    to any software system that the Philadelphia
 2   want to take time to find out.                          2   -- that the City of Philadelphia would have.
 3   Q.     Okay.    Do you have any specific                3   Q.       Okay.    What type of software fix are
 4   information that it was the City that towed             4   you envisioning?      I'm just trying to
 5   your car?                                               5   understand what it is that you're looking
 6   A.     Well, no.    I knew it wasn't PPA.               6   for.    I'm not trying to put you --
 7   Q.     Have you ever filed a lawsuit before             7   A.       I don't know, but if the officers that
 8   this case?                                              8   go around and they just put a little
 9   A.     I have right now -- no.      No.                 9   computerized handheld device at a license
10   Q.     There seemed to be a pause there.        Is     10   plate and can tell all kinds of things at
11   that because you filed something after this            11   issues whether they have a permit or whether
12   case was filed?                                        12   they have put money in a meter, it seems to
13   A.     I've just been appointed Administrator 13            me that that same type of software can be
14   of an Estate in New Jersey, so that's totally          14   used to identify cars that are being towed.
15   different.    That's the only thing.                   15   I really don't know.      I don't know what your
16   Q.     Okay.    Thank you for clarifying that.         16   software is.      I just know that out there
17          I ask this to everybody, it's not               17   technology would make things easier, make it
18   specific to you, but I have to ask, have you           18   easier to let someone know your car is going
19   ever been convicted of a crime?                        19   to be towed.
20   A.     No.                                             20   Q.       Okay.    When you referenced someone
21   Q.     Okay.    I am going to ask for a                21   going with a handheld device and the
22   five-minute break.    Is that okay for                 22   information they are able to see about either
23   everyone?                                              23   the car or the driver, anything like that,
24                  MS. MANOHAR:    Sure.                   24   are you talking about PPA there?

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Exhibit B
                                                      Mary Henin                                            3 (3 - 6)
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                                                          Page 3                                                         Page 5
 1                            -   -   -                             1          Q        Have you held a driver's
 2                           I N D E X                              2   license?
 3                            -   -   -                             3          A        Yes.
 4 MARY HENIN                                         PAGE          4          Q        And for how long?
 5       By MR. JOHNSON                               4             5          A        Since I was 16 years old.
 6                                                                  6          Q        Where did you obtain your first
 7                                                                  7   driver's license?
 8                            - - -                                 8          A        Virginia.
                          E X H I B I T S
 9                            - - -                                 9          Q        Did you grow up in Virginia?
10 NO.                      DESCRIPTION               PAGE         10          A        Yes.
11    (NO EXHIBITS WERE MARKED FOR IDENTIFICATION.)                11          Q        What brought you to
12                                                                 12   Philadelphia?
13                                                                 13          A        My job.    I graduated law school
14                                                                 14   and I started working at the public defender's
15                                                                 15   office.
16                                                                 16          Q        And did you obtain a
17                                                                 17   Pennsylvania driver's license?
18                                                                 18          A        Not when I first moved.
19                                                                 19          Q        But you have since?
20                                                                 20          A        Yes.
21                                                                 21          Q        When did you obtain your first
22                                                                 22   Pennsylvania driver's license?
23                                                                 23          A        If I recall it was last year.
24                                                                 24   My Virginia license was valid up until it
                                                          Page 4                                                         Page 6
 1                            -   -   -                             1   expired a year or two ago.
 2                                (It was stipulated by and         2          Q        Okay.
 3                   between counsel that reading,                  3                   And when you moved to
 4                   signing, sealing, certification, and           4   Philadelphia, did you own a car?
 5                   filing be waived; and that all                 5          A        Not when I first moved.
 6                   objections, except as to the form of           6          Q        Did you at some point purchase a
 7                   the question, be reserved until the            7   car?
 8                   time of trial.)                                8          A        I didn't purchase it.    This was
 9                            -   -   -                             9   my family's car.    My father couldn't drive any
10                                MARY HENIN, after having         10   more so I took it.     In maybe around 2017 is
11                   been first duly sworn, was examined           11   when I brought it to Philly.
12                   and testified as follows:                     12          Q        Okay.
13                            -   -   -                            13                   So were you -- when you say this
14 BY MR. JOHNSON:                                                 14   -- this was your family's car, what car are you
15               Q        Miss Henin, how long have you            15   referring to?
16       lived in Philadelphia?                                    16          A        The car that is referenced in
17               A        Since September 2014 so almost           17   the lawsuit.
18    eight years.                                                 18          Q        What's the make and model of
19               Q        And where were you living before         19   that car?
20       that?                                                     20          A        2008 Nissan Altima.
21               A        Chicago.                                 21          Q        And were you the registered
22               Q        And how long -- what's your              22   owner of that vehicle at any time?
23       birth date?                                               23          A        No, my parents are.
24               A        July 19, 1998.                           24          Q        Was that vehicle ever registered


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                                                   Mary Henin                                      7 (19 - 22)
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 1   or bike.                                                  1   car towed prior to January of 2020?
 2         Q          You biked to work?                       2           A       I don't think so.   I'm pretty
 3                    So wait, the trolley goes where          3   certain no.
 4   from there?                                               4           Q       Did anyone you know ever have
 5         A          The 13 trolley runs along                5   their car towed?
 6   Chester Avenue and goes to 13th City Hall.                6           A       Ever?
 7         Q          Okay.                                    7           Q       Ever.
 8         A          So I usually pick it up on               8           A       I'm sure I know someone whose
 9   Chester.                                                  9   had their car towed.
10         Q          Do you have any kids or other           10           Q       Did you talk to them about it?
11   dependents?                                              11           A       Yes.
12         A          No.                                     12           Q       They told you about it?
13         Q          Now, at that time that we're            13           A       Yes.
14   talking about in January and February of 2020,           14           Q       Do you recall what the details
15   the car was still registered to your parents;            15   were?
16   is that right?                                           16           A       Off the top of my head I do have
17         A          To my mother.   My father had           17   a friend who was courtesy towed several months
18   since passed.                                            18   before I was.   I think it's the first time I
19         Q          Was the car insured?                    19   learned about courtesy towing.
20         A          Yes.                                    20           Q       And what did your friend tell
21         Q          Can you provide documentation           21   you about it?
22   for those dates?                                         22           A       She told me that she got a
23         A          Yes.                                    23   ticket because her car was sitting in the
24         Q          Was your insurance company ever         24   middle of Washington Avenue and that she didn't
                                                    Page 20                                                   Page 22
 1   notified that the car was domiciled in                    1   put it there and she had learned after the fact
 2   Philadelphia at the time?                                 2   that the City had moved it and put it in an
 3         A          I don't recall.                          3   illegal parking spot.
 4         Q          Did you ever call the insurance          4           Q       Was she -- she said she was
 5   company?                                                  5   parked in the -- in the central turning lane,
 6         A          I don't recall.                          6   the median lane on Washington Avenue?
 7         Q          Do you know if your dad had a            7           A       That's where the City left it or
 8   financing agreement on that car?                          8   the towing company.
 9         A          No, it was fully financed.               9           Q       Or the towing company left it
10         Q          So he had paid off the car?             10   there?
11         A          Yes.                                    11           A       Right.    She had parked it
12         Q          Okay.                                   12   legally and then it got courtesy towed and left
13                    When did he purchase the car?           13   in the middle of Washington Avenue.
14         A          I don't remember.                       14           Q       Okay.
15         Q          Do you know if the registration         15                   And did she -- did she ever
16   was renewed without any lapse during that                16   relay to you how she went about tracking down
17   period?                                                  17   where the car was?
18         A          I believe it was.                       18           A       I don't remember.    I don't
19         Q          Can you provide the records             19   remember if she called the police or if she
20   showing?                                                 20   called the district.     I only remember that she
21         A          I can probably obtain them from         21   had found her car in the middle of Washington
22   the state.                                               22   Avenue.
23         Q          Okay.   All right.                      23           Q       When did you have this
24                    So -- so have you ever had your         24   conversation with her?


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 1           A          It was several months before my          1   would have been in the afternoon.
 2   car was towed.      I can't say exactly.   It was           2         Q         Was it a weekend day?
 3   probably sometime in the winter or fall of                  3         A         No, it was a Wednesday.
 4   2019.                                                       4         Q         You parked there.    You were
 5           Q          And who -- who was this friend?          5   coming from State Road.
 6   What's her name?                                            6                   Was it a social engagement you
 7           A          This was my office maid at work.         7   were at?
 8   Her name is Angelica Hendrix.       She was my              8         A         No, I was there for work.    I was
 9   office maid at the time.                                    9   at the jails, the county jail.
10           Q          How would -- has anyone else            10         Q         All right.
11   ever talked about getting their car towed in               11                   When was the next time you saw
12   Philadelphia?                                              12   your car after you parked it?
13           A          Yes.   I know other people who've       13         A         On February 14th when I found it
14   been courtesy towed or just had their cars                 14   in the location it had been moved to by the
15   moved by PPA from illegal spots.                           15   City or the towing company.
16           Q          So in regard to the incident            16         Q         So wait a minute.    You parked
17   where your car was towed, when had you last                17   your car on the 5th after work.
18   parked the car?                                            18                   You never saw it between then
19           A          February 5th of 2020.                   19   and the 13th?
20           Q          So you parked the car on                20         A         I mean, I'm sure I did walking
21   February 5th.                                              21   to the trolley or walking around the
22                      Where -- what had you been out          22   neighborhood, but I didn't look for it to use
23   doing with the car?                                        23   it until February 12th which is the day I
24           A          I was visiting clients up on            24   realized it was missing and then February 13th
                                                      Page 24                                                        Page 26
 1   State Road at the jails.                                    1   I found it.
 2           Q          And what -- where did you park           2         Q         Would you say -- I mean, if you
 3   the car?                                                    3   walked out your building, in relation to where
 4           A          On the northern side of 4200             4   you had parked the car, would you have seen the
 5   Chester Avenue.                                             5   car from walking out front of your building?
 6           Q          Is that the side where your              6         A         It wouldn't have been directly
 7   residence is?                                               7   in front of my face.    I would have had to turn
 8           A          Yes.                                     8   and look up and make sure it was there.
 9           Q          If you could describe in                 9         Q         And how far would you say -- how
10   relation to your building, was -- how close was            10   many car lengths down was it?
11   it to your building?                                       11         A         I think I said two or three.      It
12           A          4209 is pretty central in the           12   wasn't quite on the exact corner of 42 and
13   block.      I'd say it's just west of the center of        13   Chester, but it was east of my building
14   the block and I parked probably two to three               14   entrance.
15   car lengths east of my residence.       It wasn't          15         Q         And to go to the trolley, would
16   far.                                                       16   you walk east or west?
17           Q          Could you see it from your              17         A         I would walk east either on the
18   apartment?                                                 18   same or across the street and walk up because
19           A          I don't remember.   My apartment        19   the trolley was on the south side of the block.
20   was on the west corner so it's possible I                  20         Q         Okay.
21   couldn't.                                                  21                   So -- so you would you walk by
22           Q          What time of day did you park           22   the car going to the trolley?
23   the car?                                                   23         A         I could have, yes.
24           A          I don't recall exactly, but it          24         Q         Okay.


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                                                   Mary Henin                                        9 (27 - 30)
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 1                    Was anyone with you when you             1   car, you said February 13th, did you -- were
 2   parked the car?                                           2   you sleeping at your house all those nights?
 3           A        No.                                      3           A        Not all those nights.
 4           Q        When you parked the car, did you         4           Q        How many -- how many days do you
 5   notice any temporary no parking signs from the            5   think you were there?
 6   City at that point?                                       6           A        I don't remember.    I can guess.
 7           A        No.                                      7           Q        Okay.
 8           Q        Have you seen those on that              8                    When did you notice that the car
 9   block before?                                             9   wasn't there?
10           A        Yes.                                    10           A        On February 12, 2020.
11           Q        Are you familiar with what kinds        11           Q        February 12th.    Tell me about
12   of temporary signs that the City posts or other          12   that.
13   residents post?                                          13                    What are you doing when you
14           A        I'm sorry.    The audio went out.       14   noticed?
15           Q        Temporary no parking signs, have        15           A        So I was downtown at dinner with
16   you seen those in the City before that?                  16   friends.    My friend had asked to borrow the car
17           A        Yes.                                    17   so I gave him the key earlier in the day.      And
18           Q        What was your understanding of,         18   then while I was at dinner with my friends I
19   like, what those signs meant?                            19   got a call from my friend or a text, I don't
20           A        For the -- they indicate a              20   remember, saying that he couldn't find the car
21   period of a time that you couldn't park your             21   and that he had walked up and down 4200
22   car there.                                               22   Chester, which is where I usually park, and
23           Q        When you were looking for               23   also 43rd, where I also usually park, and he
24   parking, did you ever look at those signs,               24   couldn't find the car.
                                                    Page 28                                                     Page 30
 1   like, look at the dates?                                  1           Q        What did you do after you heard
 2           A        Sure.   Sure.   If a sign is there       2   that?
 3   I'll read it before parking.                              3           A        I called an Uber to go to 4200
 4           Q        Do you recall what was the               4   Chester to help him look for the car.      While I
 5   weather like when you parked the car?                     5   was in the Uber I started calling the 18th
 6           A        I don't remember.                        6   Police District to see if they had any
 7           Q        Are there trees on that block?           7   information about where the car could be.
 8           A        Yes.                                     8           Q        Do you work regularly with the
 9           Q        Would they obstruct view of the          9   Philadelphia Police Department as part of your
10   cars?    If you were to look around the block,           10   job?
11   would they be in your way if you were standing           11           A        I encounter them as part of my
12   on the sidewalk looking at the cars that are             12   job, but as a defense attorney I rarely work
13   parked?                                                  13   with them.
14           A        They could.                             14           Q        Do you know any of the officers
15           Q        Did you notice any street work          15   from that police district?
16   or utility work occurring in the area when you           16           A        Personally, no.
17   parked the car?                                          17           Q        Had you had dealings with them
18           A        No.                                     18   in court ever?
19           Q        How about in the days after             19           A        Yes, 18th District officers come
20   that, did you notice any work being performed            20   into court frequently.    I can't say there's one
21   on that block?                                           21   particular officer I've dealt with more than
22           A        No.                                     22   any other.
23           Q        During that week between                23           Q        Had you ever called the 18th
24   February 5th and the next time you saw your              24   Police District before?


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                                                    Mary Henin                                   10 (31 - 34)
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 1          A         Probably not.   I sometimes call         1         Q        Did you talk to any friends or
 2   police districts as part of my job, but I                 2   neighbors there about activities on the block
 3   didn't work in what was called the southwest              3   related to your car?
 4   district at the time so it's possible I called            4         A        No.
 5   the 18th District for work, but nothing else.             5         Q        Did you ask anyone in the
 6          Q         So what steps did you take to            6   neighborhood about whether there was any work
 7   try and locate the car?                                   7   performed on that block?
 8          A         I called the 18th District and           8         A        No.
 9   asked them if they were aware of any towing or            9         Q        Did the police ever tell you
10   any reason why the car would have been moved             10   about any work that had been performed on that
11   from that block.    I called them several times          11   block?
12   each time asking for new information or give me          12         A        No.
13   new information.    Each time I called them they         13         Q        And, just apologies, I'm
14   either told me to call PPA or to call 911 and            14   backtracking a little.
15   report the car stolen.     So I called PPA.    I         15                  But about the car, this was your
16   called the PPA tow lot who said that they had            16   dad and your mom's car, they were joint owners?
17   no record of the car and they told me that if            17         A        Correct.
18   it was moved by the City or if it was courtesy           18         Q        Were you responsible for
19   towed they wouldn't have a record of it, that            19   maintenance of the vehicle?
20   the police district would have moved it or               20         A        Yes.
21   would have been in charge of moving it.       So I       21         Q        Did you ever have the car
22   called the 18th District back and told them,             22   inspected in Pennsylvania?
23   you know, what I had learned from PPA and they           23         A        No.
24   told me that the only way to generate any sort           24         Q        Did you have the car inspected
                                                Page 32                                                         Page 34
 1   of paper trail that the car was missing was to            1   in Virginia?
 2   call 911 and report it stolen so eventually I             2         A        Yes, each year.
 3   did that.                                                 3         Q        Did you drive it down there
 4          Q         So the 18th District, just to            4   every year to have it inspected?
 5   confirm, you said they didn't have any record             5         A        Yes.
 6   of it being courtesy towed; is that right?                6            Q     Did you have any trouble with
 7          A         That's right.                            7   the car around that time?     Was there any work
 8          Q         What did you do after that?              8   that needed done or maintenance issues?
 9          A         After calling 911 I waited for           9            A     No.
10   the officers to respond.     Two officers came.      I   10            Q     All right.
11   gave a stolen vehicle report and they said that          11                  When you were without the car
12   they would drive around the block looking for            12   that night, how did that make your feel?
13   it.   They asked me for distinctive                      13            A     Frustrated, worried, annoyed
14   characteristics about the car that would make            14   that I was getting the run around from the
15   it stick out and so I described the car to               15   police district, everything you can imagine
16   them, gave all the license information, that             16   when you think your car has been moved by the
17   kind of thing.    And then the next day I went           17   City or stolen.
18   out on my own to look for the car.                       18            Q     Did you talk to people about it?
19          Q         Did you talk to anyone who might        19            A     Yes.
20   have been on the block to see if they had seen           20            Q     Who?
21   anything happen to the car?                              21            A     Friends, family.
22          A         No.   It was late at night.    I        22            Q     Did you call your parents?
23   don't remember that many people, if anyone,              23            A     I probably called them the next
24   being out on the block.                                  24   day because it was probably 10:00 at night by


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                                                   Mary Henin                                     12 (39 - 42)
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 1   Chester or 43rd south of Chester.                        1   any reports at that time?
 2          Q         And so the police district had          2          A         No.
 3   that report.                                             3          Q         Or did they send you any
 4                    Did you have any other                  4   correspondence afterwards?
 5   interactions with the police district?                   5          A         No.
 6          A         I'm not sure I understand the           6          Q         So after you had that last
 7   question.                                                7   interaction you were describing where they said
 8          Q         You had talked to the officer.          8   a week later, do you recall the date when you
 9   He said the stolen report hadn't been filed              9   called to check on the status?
10   yet.                                                    10          A         I don't remember the exact date,
11                    And what happened after that?          11   but it was a week or more later.
12          A         After that I asked him what I          12          Q         What happened after that?
13   should do to make sure that the stolen report           13          A         After that I didn't think about
14   doesn't get filed after the found report so             14   it until I was arrested in New Jersey, LBI on
15   that the car would then continue to be in               15   May 29th of 2020.
16   stolen status.    He suggested I call the 18th          16          Q         So you said May 29th?
17   District about a week later to confirm that the         17          A         Right.
18   car was not in stolen status so I did that and          18          Q         You were going about your normal
19   I did call about the week after the 13th when I         19   business in Philadelphia between February and
20   found the car and the 18th District told me             20   May 29th; is that right?
21   that my car was not in stolen status.                   21          A         Yes.
22          Q         But they -- did they -- when you       22          Q         Did you continue to drive the
23   talked to them, did you -- did you confirm              23   car?
24   anything about the reports that you had                 24          A         Yes.
                                                  Page 40                                                      Page 42
 1   submitted or that were made?    Like, you had            1          Q         You continued to park the car as
 2   made a report.    You know that it was made and          2   you had described in your earlier testimony?
 3   it wasn't filed, but when you called back, did           3          A         Yes.
 4   you -- did they talk about the reports or did            4          Q         Did you continue to use it to
 5   they tell you the status wasn't as stolen?               5   perform all the usual tasks, like, going to the
 6          A         I explained to them the                 6   prison and going to work?
 7   situation which was on February 12th the car --          7          A          Yes.
 8   I reported the car stolen and on February 13th           8          Q          Okay.
 9   I reported it found.    I told them I wanted to          9          A          Well, I should say though that
10   be sure that it was not in stolen status and            10   the pandemic shut everything down in mid March
11   that the stolen report had not over run or over         11   2020 so I shouldn't say that it was business as
12   ridden the found report and they confirmed that         12   usual.     I was no longer going into the prison
13   the car was not in stolen status.                       13   as frequently, if at all and I wasn't out and
14          Q         When you were having these             14   about as much as you would be before the
15   interactions with the 18th Police District, did         15   pandemic.
16   they ever provide you any documentation                 16          Q          Were you working from home
17   regarding those interactions or the reports             17   during that time?
18   that you had made?                                      18          A          Yes.    Since the pandemic shut
19          A         Each time I made a police report       19   down the courts between March 16, 2020 and I
20   I asked the reporting officer to give me the DC         20   want to say June of 2020 fully.       After June of
21   number, the district control number related to          21   2020 there was a limited opening in which my
22   the report, but I didn't get any other police           22   office began returning to certain tasks.
23   paperwork.                                              23          Q          So there were no hearings in the
24          Q         So they never gave you a copy of       24   criminal courts during that time?


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                                                  Mary Henin                                        13 (43 - 46)
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                                                     Page 43                                                         Page 45
 1           A         Certain hearings were                    1          Q         Had you arrived yet for the
 2   continuing, but on a very limited basis.                   2   weekend or no?
 3           Q         So for your job, you weren't             3          A         No, this was the first day that
 4   going to the prisons during that time?                     4   we had driven down.
 5           A         I don't think I returned to              5          Q         So you hadn't seen your friends
 6   State Road until summer of 2020.                           6   there yet?
 7           Q         Did you hear at all from the             7          A         Correct.
 8   City about the tow or the police district about            8          Q         Who was driving the car?
 9   your car during those months?                              9          A         My friend.
10           A         No, I did not get any                   10          Q         What's his name?
11   information until after the arrest and then the           11          A         Bandar.    The same person I
12   complaint that I filed after that fact.                   12   referenced before.
13           Q         So during February and then when        13          Q         And before you got stopped, did
14   the pandemic hit during March, April and early            14   you notice the police in the area?
15   May, were you traveling outside the City in the           15          A         No.
16   car?                                                      16          Q         Had the police been following
17           A         Occasionally.   Very little was         17   you?
18   open, but I would go to, for example, parks               18          A         I don't know.    I was on the
19   outside the City just to get away from the City           19   phone talking to a different friend at the time
20   for a little bit, grocery shopping, things like           20   we had gotten pulled over so I wasn't really
21   that.                                                     21   looking around like that.
22           Q         Did you travel to visit your            22          Q         I just want to go back and just
23   parents out of state?                                     23   clarify one thing about when the vehicle had
24           A         No, not in that time period.            24   gotten towed.    Like, when you -- if we go back
                                                     Page 44                                                   Page 46
 1           Q         Did you travel to visit any              1   to that first time, I believe it was the 12th
 2   other friends out of state during that time                2   of February when you noticed the car was gone.
 3   period?                                                    3                    Did you suspect at that time
 4           A         I don't think so, no.                    4   that it had been towed by the City?
 5           Q         Would you say that when you went         5          A         Yes.
 6   to New Jersey, was that the first time you had             6          Q         Did you think it had been
 7   driven in New Jersey during that time period?              7   stolen?
 8           A         It's -- I think so, yes.   It's          8          A         No.
 9   possible we went to the shore another time, but            9          Q         Did you file a report because
10   I don't think -- I don't think so.                        10   the police told you to?
11           Q         So describe that trip, where            11          A         Yes.
12   were you heading?                                         12          Q         Okay.     All right.
13           A         I was visiting -- with my friend        13                    So when you got stopped back on
14   we were visiting another friend in Long Beach             14   May 29th, were you surprised?
15   Island.     Their parents had a beach house there         15          A         Yes.
16   and they were staying with them.                          16          Q         Tell us about that incident.
17           Q         Were you -- were you on your way        17   Tell us what happened.
18   to the shore house when you got pulled over?              18          A         I was on the phone with my
19           A         I was within 1,000 feet of the          19   friend.    I told him I needed to get off the
20   shore house when we got pulled over.                      20   phone immediately because four SUV police
21           Q         So were you coming from the             21   officers had essentially blocked us in as we
22   shore house or were you going to the shore                22   had turned into a one-way street -- I'm sorry
23   house?                                                    23   -- a dead end street that would have been my
24           A         Going.                                  24   friend's house street.       On the mega phones and


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                                                 Mary Henin                                      14 (47 - 50)
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                                                Page 47                                                               Page 49
 1   they were screaming things like stop, get out              1   neighborhood?
 2   of the car, throw the keys out the window, turn            2          A         Yes.
 3   off the car and throw the keys out the window.             3          Q         Just for the record I'm going to
 4   They're just screaming into these mega phones.             4   ask this question, how do you feel you were
 5   So I told my friend I had to get off the phone             5   treated by the police at that time?
 6   immediately.                                               6          A         It was terrifying.    I mean, they
 7                    I look in the passenger rear              7   wouldn't -- I mean, they had guns pointed at
 8   view side mirror and I see that we're flanked              8   us.   They wouldn't really hear out what we had
 9   by these SUV cops and they're screaming at us.             9   to say until I was able to convince them to go
10   I tell my friend to turn off the vehicle and              10   and pull that report and call the district.         At
11   throw the keys out of the car.     We were so             11   first they refused to call the district.      They
12   panicked that he just managed to throw the car            12   said that it's not their responsibility, but I
13   in park.    Actually, I'm sorry.   He managed to          13   told them that I was a lawyer and I just kept
14   turn off the car and throw the keys out the               14   encouraging them to do that.     Luckily, there
15   window without even putting the car in park.              15   was a sergeant on scene who was willing to take
16   The police officers ordered us out of the car.            16   charge, but it was a terrible experience.
17   They had guns pointed at us.    They told us to           17          Q         What is your ethnicity?
18   put our hands behind our head and walk                    18          A         I'm Egyptian.
19   backwards towards them without turning around.            19          Q         Okay.
20   They each handcuffed both of us and told us               20                    And how about your friend who
21   that we were under arrest.                                21   you were with?
22         Q          Did you have any -- did you talk         22          A         He's Saudi Arabian.
23   to the cops at that time?                                 23          Q         Do you -- do you feel like you
24         A          Yes.                                     24   would have been treated differently if you were
                                                     Page 48                                                          Page 50
 1         Q          What did you say?                         1   white?
 2         A          I asked them why we were being            2          A         Yes.
 3   arrested.    They said that the car was stolen             3          Q         Did the police ever make any
 4   and at that point I told them it was not stolen            4   statements that you felt went towards your
 5   and I had a police report -- I'm sorry -- a                5   ethnicity?
 6   police DC number confirming that in my vehicle.            6            A       No.
 7   First, I asked them when it was reported stolen            7            Q       Okay.
 8   and they said February 2020 and at that point I            8                    Do you think they acted
 9   knew that we were talking about the incident               9   inappropriately at all?
10   where it was towed and I had to report it                 10            A       Yes.
11   stolen and it was not, in fact, stolen.                   11            Q       And specifically why?     What
12                    So, you know, it took about an           12   makes you say that?
13   hour for them to confirm that the car was not             13            A       The entire -- the entire
14   stolen.    Originally they did get information            14   situation was extremely aggressive.      I'm sure
15   that it was stolen and that they should arrest            15   it was perfectly protocol for them to pull guns
16   us, but I kept telling them to call the                   16   on us, to flank us, to immediately handcuff us,
17   Philadelphia Police District specifically the             17   to not release us from the handcuffs when they
18   18th District, give them the DC number for the            18   continued their investigation.     I'm sure all of
19   found report and confirm the car was not                  19   that was protocol, but it was aggressive.         It
20   stolen.                                                   20   was forceful.    It was scary and it was
21         Q          How many -- how many police cars         21   inappropriate.
22   were there again?                                         22            Q       So you said it took about an
23         A          I believe it was four.                   23   hour for you to convince them to release you.
24         Q          And it was a residential                 24                    Were you placed in handcuffs?


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                                                     Mary Henin                                       18 (63 - 66)
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                                                       Page 63                                                      Page 65
 1   anymore.    He was sick and he had gotten                    1             is scary to be driving around myself.
 2   progressively more sick and I was making a lot               2             If you want me to put a number on it
 3   of trips to Virginia at the time and so instead              3             I'll say 100,000.   You know, because
 4   of taking the train back and forth my parents                4             there's no number that's going to fix
 5   offered that I take the car so that I could go               5             all that stuff that has already
 6   back and forth to Virginia.      And eventually my           6             happened.
 7   father passed away and my mom didn't have use                7                     But you want to talk about how
 8   for two cars because the car is jointly insured              8             scary it was and how traumatic it was.
 9   and registered with her car.      It didn't make             9             You know, I'm grateful that I don't have
10   sense to separate them or to sever them or to               10             lasting therapy or that I didn't need to
11   change the registration so I never did.                     11             change jobs or anything because of it,
12           Q        Do you -- do you still have the            12             but I'm not happy about it.
13   car?                                                        13 BY MR. JOHNSON:
14           A        Yes.                                       14            Q         Do you know anyone else who's
15           Q        Is it registered in your name              15    been through a similar experience having been
16   now?                                                        16    arrested as a result of a courtesy tow?
17           A        No, it's still in my mom's name.           17            A         Personally, no.
18           Q        Does your insurance company know           18            Q         Have you heard about anyone like
19   that?                                                       19    that?
20           A        Yes.                                       20            A         No, but it was one of the things
21           Q        Okay.                                      21    on my mind when they told me to report my car
22                    Do you feel like -- did you ever           22    stolen because I did not want to be driving
23   seek help from a therapist or anything as a                 23    around in a stolen vehicle.
24   result of this?                                             24            Q         Did you ever -- did you ever
                                                       Page 64                                                       Page 66
 1           A        No.                                         1    find out why the tow had happened?
 2           Q        Are you seeking money damages at            2            A         I believed it was because of
 3   all?                                                         3    tree cutting work that they were doing.     I -- I
 4           A        Yes, as part of the lawsuit.                4    was able to figure that out myself because
 5           Q        For what?                                   5    eventually they did the other side of the
 6           A        There's no requested amount.                6    block.      They were doing tree cutting on that
 7           Q        What do you think a fair number             7    side of the block and I happened to just look
 8   would be?                                                    8    up and notice that they had cut trees on my
 9           A        I mean, honestly --                         9    side of the block.
10           Q        And what -- what is it based on,           10            Q          Do you know who actually towed
11   in your mind?                                               11    the car, was it PPA or was it a contractor?
12                   MR. KOHN:    You can answer.                12            A          It was ticketed by the City of
13                   THE WITNESS:    I mean,                     13    -- by Philadelphia Police, but I don't know if
14            realistically, what I went through was             14    it was the police or if it was a private tow
15            horrible and so -- and it was horrible             15    company that moved the car.
16            for me and my friend.    He's a bearded            16            Q          Okay.
17            Saudi man being pulled over by shore               17                       Do you have any social media
18            cops, young, untrained, trigger happy              18    accounts?
19            shore cops.    If I could put a number on          19            A          Yes.
20            that it would easily be double whatever            20            Q          Which platforms?
21            -- you know, whatever I could even                 21            A          Facebook, Instagram, Snapchat.
22            imagine for myself.    You know, his               22            Q          Did you post about this incident
23            trauma has also affected me.     It is             23    on any of your social media?
24            scary to be driving around with him.       It      24            A          No, I don't think so.


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                                                       Mary Henin                                   19 (67 - 70)
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                                                   Page 67                                                         Page 69
 1           Q         Has your car ever been towed              1           A       No.
 2    after this incident?                                       2           Q       What was the classification of
 3           A         It has actually.                          3   the spot it was in?
 4           Q         What was -- what happened there?          4           A       It was, I'm pretty sure, a
 5           A         It was just parked in a loading           5   loading zone.
 6    zone so it was a normal PPA tow.                           6           Q       Are you aware was it a loading
 7           Q         And what did you do as a result           7   zone or was it two hour parking?
 8    of that tow?                                               8           A       I'm pretty sure it was a loading
 9           A         I called PPA.       They told me          9   zone.
10    exactly where the car was and I was able to               10           Q       Did you get a parking ticket as
11    recover it within an hour.                                11   a result of that?
12           Q         Did you have to pay to get it            12           A       The only ticket it had on it was
13    out?                                                      13   for the PPD towing ticket.     There was not a PPA
14           A         Yes.                                     14   ticket for anything else.
15           Q         Okay.                                    15           Q       So it was not a parking
16                     Have you ever been the plaintiff         16   violation?
17    in a lawsuit before?                                      17           A       No.
18           A         No.                                      18           Q       So the towing ticket, was there
19           Q         Have you ever been a defendant           19   a fine associated with that?
20    in a lawsuit?                                             20           A       Yes.
21           A         No.                                      21           Q       How much was that fine?
22           Q         Have you ever been convicted of          22           A       I think it was around $52.
23    a crime?                                                  23           Q       $52.00.
24           A         Nope.                                    24                   Did you pay that?
                                                   Page 68                                                         Page 70
 1           Q         Have you ever been charged with           1           A       Yes.
 2    a crime?                                                   2           Q       Did you ever file an appeal to
 3           A         No.                                       3   that?
 4                    MR. JOHNSON:       All right.   At this    4           A       No.
 5            time can we take a brief recess?         I'm       5           Q       And after that, did you ever
 6            just going to look over my notes and               6   find any -- you know, back on your block on the
 7            talk to Shelly and let you know if I               7   4200 block of Chester, did you find any signage
 8            have a few more questions, but I think             8   related to temporary parking restrictions on
 9            we're almost done.                                 9   the block?
10                    MR. KOHN:      Great.   Sure.   Thanks.   10           A       At some point, I don't remember
11                           -   -   -                          11   when exactly, I found on the ground one of
12                               (Whereupon, there was a        12   those red and white restricted temporary
13                brief recess.)                                13   parking signs, but it had been rained on.      It
14                           -   -   -                          14   was pretty tethered.      I don't think I could
15                    MR. JOHNSON:       A few more             15   even really read the dates on it.
16            questions and I think we'll be done.              16           Q       So when you found that, it was
17 BY MR. JOHNSON:                                              17   -- you're saying it wasn't legible?
18           Q         So if we go back to the time you         18           A       Correct.
19    found your car, I believe it was February 13,             19           Q       Did you -- do recall what day
20    2020, when you found your car at the corner of            20   that was?
21    you said 43rd and Pine Street; is that right?             21           A       No, I don't remember when I
22           A         Yes.                                     22   found it.
23           Q         And was that in a legal parking          23           Q       Was it within a week of finding
24    spot at the time?                                         24   your car?


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Exhibit C
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Exhibit D
                                                       Page 1
          UNITED STATES DISTRICT COURT
   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


KATHLEEN EASTMAN; MARY HENIN:
AMANDA HAY and MATTHEW ALLEN,
individually and on behalf :
Of all others similarly,
                            :
        Plaintiffs,
                            :
   vs.
                            :
THE CITY OF PHILADELPHIA,
                            :
        Defendant.                  NO. 21-02248
                            :

                        -----
             WEDNESDAY, OCTOBER 26, 2022
                        -----


        Oral deposition of MATTHEW WHITE held at the
Law Offices of Kohn, Swift & Graf, 1600 Market
Street, Philadelphia, Pennsylvania, commencing at
1:02 p.m., by and before Jo-Anne M. Bosler,
Professional Shorthand Reporter and Notary Public.




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                                              Page 10                                                Page 11
 1   connection to posted construction work              1   was construction going on in a given sign
 2   that was going to happen.                           2   and signs are posted.
 3     Q. Is it fair to say that was used as             3     Q. And that was the policy of the
 4   a shorthand way to describe the moving of           4   department?
 5   vehicles in connection with the types of            5     A. Yes.
 6   things you just mentioned?                          6     Q. And the department is part of the
 7     A. That's fair.                                   7   City of Philadelphia; right?
 8     Q. Was it used interchangeably at                 8     A. Yes.
 9   times with relocation or relocation                 9     Q. Would you say that it was,
10   towing?                                            10   therefore, a policy of the City of
11     A. No. Again, I think that's a term              11   Philadelphia to relocate cars under
12   that was used in the newspapers or used to         12   certain circumstances that you just
13   talk about moving cars. None of these              13   described?
14   things to my understanding were ever               14     A. Again, it was a policy of the
15   programs in the police department in the           15   police department to the extent that the
16   way that say another program would be              16   police department is a part of the city.
17   run -- like an official program.                   17   But as it's hard to answer for the larger
18     Q. It's your testimony that there was            18   city when I was only inside the police
19   no official program for relocating                 19   department.
20   vehicles that might be necessary at times?         20     Q. And when you were talking about
21     A. There's a policy to relocate                  21   those policies while you were working with
22   vehicles under the circumstances that we           22   the city, would the term relocation or
23   discussed, such as parades or other events         23   relocating ever be used as a shorthand to
24   or emergency situations or also when there         24   describe that cluster of circumstances
                                              Page 12                                                Page 13
 1   when cars were moved?                               1   been marked as White Exhibit Number 1.
 2     A. Not that I can recall. But I                   2   And this is a three page document which
 3   believe we provided the directives -- when          3   bears the production numbers in the lower
 4   where I policy I might use that word                4   right-hand corner, City 00122, 123 and 124
 5   interchangeably with directive, which the           5   produced to us in this litigation by the
 6   police department is guided by -- I don't           6   city.
 7   know -- somewhere in the neighborhood of            7        Have you ever seen this document
 8   200 directives. And I believe at least              8   before?
 9   one or more of them touch on the towing of          9     A. I may have. This is a PAC
10   vehicles.                                          10   document -- Police Advisory Commission,
11     Q. Have you ever seen the term                   11   which I have seen may of in my time
12   courtesy towing in writing in police               12   working in the police department.
13   department documents?                              13     Q. Do you recall seeing it in
14     A. Not that I can recall.                        14   connection any role you may have played in
15             MR. KOHN: Why don't we                   15   this litigation, Eastman versus City of
16        mark this as the first exhibit                16   Philadelphia?
17        which would be White Exhibit                  17     A. Can you rephrase the question. I'm
18        Number 1. It's a three page                   18   sorry.
19        documents, I believe.                         19     Q. Have you -- do you recall ever
20             (Whereupon the document                  20   seeing this document with respect to
21        was marked, for identification                21   anything you may have done in connection
22        purposes, as Exhibit White-1.)                22   with this lawsuit, Eastman versus
23   BY MR. KOHN:                                       23   Philadelphia, the reason why you're here
24     Q. What is placed before you what has            24   today?




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Exhibit F
                                               Page 1
    IN THE UNITED STATES DISTRICT COURT
 FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                   -   -   -


KATHLEEN EASTMAN, MARY HENIN, : CIVIL ACTION
AMANDA HAY, and MATTHEW ALLEN,: Individually
and on behalf of :
all others similarly situated :
                              : CLASS ACTION
             vs.              :
                              :
THE CITY OF PHILADELPHIA      : NO. 21-02248

                   -   -   -

         Tuesday, October 11, 2022

                   -   -   -

       Videoconference deposition of
LIEUTENANT MICHAEL ANDERSON, currently
located in Pennsylvania, taken pursuant to
notice, was held remotely via Zoom,
commencing at 9:13 a.m., on the above date,
before Lori A. Zabielski, a Registered
Professional Reporter and Notary Public in
and for the Commonwealth of Pennsylvania.

                   - - -
            MAGNA LEGAL SERVICES
                866.624.6221
               www.MagnaLS.com
                                         Page 10                                            Page 11
 1        A. The tow squad is consisting            1   any other large-type vehicle like that
 2   of almost all civilian employees who are       2   that would be beyond the scope of the
 3   tow truck operators or heavy-duty wrecker      3   equipment that I have.
 4   operators. We are responsible for towing       4        Q. I see.
 5   on guard for transfer evidentiary              5               - - -
 6   vehicles into our headquarters or another      6            (Reporter clarification at
 7   secure facility for investigations. We         7        this time.)
 8   also coordinate with the City in response      8               - - -
 9   to snow emergencies to tow cars off snow       9            THE WITNESS: Rob's Towing.
10   emergency routes. And we also do job          10   BY MR. HOESE:
11   details throughout the City for other         11        Q. Lieutenant Anderson, have
12   special events, parades, foot races,          12   you ever heard the expression "courtesy
13   things like that, demonstrations.             13   towing"?
14        Q. And does the tow squad have           14        A. I have only heard that
15   its own fleet of tow vehicles?                15   through news articles that people have
16        A. Yes, we do.                           16   sent me.
17        Q. Does the City -- or does the          17        Q. Okay. Do you use the term
18   tow squad ever use third-party tow truck,     18   "relocation" when the tow squad is doing
19   private tow truck operators as part of        19   its work?
20   its work?                                     20        A. Yeah, a relocation is
21        A. We have a contract                    21   something that we would do when we are
22   currently. It's with Rob's Towing for         22   not going to take it to an impound
23   heavy wrecker operations, something that      23   facility or a secure facility for
24   would require, like, a tractor trailer or     24   evidence. We would just relocate it.

                                         Page 12                                            Page 13
 1        Q. Got it. Got it. Okay.                  1             So I don't know if there is
 2   Well, let's start with, Lieutenant             2   one set person that writes a directive.
 3   Anderson, are you familiar with police         3   It's kind of a collaborative approach.
 4   department Directive 12.5?                     4         Q. I see. Okay. All right.
 5        A. Yes.                                   5             MR. HOESE: What I am going
 6        Q. What is a police directive?            6         to do is -- what I would like to
 7        A. It's a document that they've           7         have marked as Anderson Exhibit-1
 8   created to use as a guide while                8         is police department direct -- or
 9   performing your duties as a police             9         Philadelphia Police Department
10   officer.                                      10         Directive 12.5.
11        Q. Do you know who prepares the          11                - - -
12   police directives?                            12             (Anderson-1 marked for
13        A. Throughout the years, it's            13         identification at this time.)
14   been different departments. It's changed      14                - - -
15   names. However, they usually come up          15   BY MR. HOESE:
16   with a policy and then send it out to         16         Q. I was practicing this on
17   commanders for review, so it's created by     17   Friday. Let me see if I can do it
18   a -- I believe research and planning          18   properly today. Well, all right. Let's
19   right now, but it's sent out for, like I      19   try again.
20   said, review by all the commanders and        20             MS. REINHART: I was going
21   then recommendations are made and either      21         to say if you already have the
22   accepted and directed as change or they       22         document open, then you should be
23   discuss it and, you know, decide to go        23         able to when you do screen share
24   the original way.                             24         select that particular one.

                                                                       4 (Pages 10 to 13)
                                          Page 38                                            Page 39
 1        A. I do not.                               1   something else you want to see, you can
 2        Q. Then we have E, and it talks            2   scroll, I think, down the whole document.
 3   about the operations room supervisor.           3   But is this one of the 75s we were
 4            Do you see that?                       4   talking about earlier, the form numbers?
 5        A. Yes.                                    5        A. Yes. If you scroll towards
 6        Q. All right. And that's                   6   the bottom, I think you can see what form
 7   different from the radio room supervisor,       7   number it is. So that would be the 75-7.
 8   correct, that person?                           8        Q. Okay. And does this form --
 9        A. That's correct.                         9   is this form filled out in connection
10        Q. And does he have anything to           10   with relocation tows?
11   do with relocation tows?                       11        A. This is generally filled out
12        A. No.                                    12   for vehicles who are going to be towed as
13        Q. Okay. All right. What I am             13   part of the Live Stop program or I
14   looking for here, I think there is -- I        14   believe the officer does this for a
15   know there is a -- here we go.                 15   vehicle being towed and it's evidentiary
16            I am going to scroll down             16   as well but not for relocation.
17   to -- and I hope you can see -- is a           17        Q. Not for relocation. Okay.
18   sample of a Philadelphia Police                18             So this has the owner's
19   Department towing report.                      19   information on it. Okay. Okay. This
20            Can you see that, Lieutenant          20   was not for relocation tows. Okay.
21   Anderson?                                      21             MS. REINHART: If I may also
22        A. I can see the top, yes.                22        just note that the document that
23        Q. All right. Again, I think              23        we were just looking at at the
24   you can adjust, too. If there is               24        bottom is City_00016 just for the

                                          Page 40                                            Page 41
 1        record.                                    1   licensed towing companies shall be
 2             MR. HOESE: Okay. Thank                2   permitted to tow any illegally parked
 3        you.                                       3   vehicle from any licensed or unlicensed
 4             MS. REINHART: Thank you.              4   parking lot, from private property, from
 5   BY MR. HOESE:                                   5   any common driveway and from in front of
 6        Q. All right. Lieutenant                   6   any driveway where the vehicle is
 7   Anderson, I wanted to ask you a couple of       7   blocking access to the driveway. And
 8   questions, and it may be only a couple,         8   then it goes on.
 9   about Appendix A to Directive 12.5. And         9            But does the tow squad
10   the first one here is towing from private      10   oversee the operations of the licensed
11   lots and driveways.                            11   towing companies when they are towing
12             Do you see that?                     12   from --
13        A. Yes, I can.                            13        A. No.
14        Q. And is it accurate to say              14        Q. -- parking lots and so on?
15   that the police department does not tow        15        A. No, we don't.
16   vehicles from private lots and driveways;      16        Q. You don't. Okay.
17   is that right?                                 17            Do you see under E here in
18        A. That's correct.                        18   Appendix A, it has: Prior to towing a
19        Q. All right.                             19   vehicle under this subsection of the City
20        A. Unless it is a police                  20   Code, the towing company shall take a
21   situation.                                     21   digital photograph that clearly shows the
22        Q. Okay. So we see under 2:               22   following, and it has the license plate,
23   Only licensed -- under 2: City code            23   the violation for which the vehicle is
24   Section 9605 (11). It has: Only                24   being towed -- again, I am not reading it

                                                                       11 (Pages 38 to 41)
                                          Page 42                                             Page 43
 1   verbatim -- and posted sign identifying         1   knowledge, situation where the police
 2   the unauthorized parking -- excuse me --        2   would be involved in this type of towing?
 3   the posted sign identifying that                3         A. I believe they have to -- if
 4   unauthorized parking is prohibited.             4   it's blocking a driveway or in those
 5             Does the tow operator have            5   types of situations, the police have to
 6   to provide that photograph to anyone at         6   be called for a ticket to be written.
 7   the City as far as you know?                    7   The police or some law enforcement
 8         A. They have to maintain it on            8   agency -- it could be, you know, Temple
 9   file, I believe, and then present it if         9   police or University of Penn police or
10   there is a question as to the accuracy of      10   SEPTA police, but some law enforcement
11   the tow and what the violation was.            11   has to be called to write a ticket prior
12         Q. Okay. If we go down a                 12   to them even towing the vehicle.
13   little bit further, we have 4: Private         13         Q. I see. Okay. But these are
14   Towing of Vehicles Parked Illegally on         14   not relocation tows, right? These are
15   Private Property.                              15   illegally parked vehicles?
16             And it has under A: Private          16         A. Yes.
17   towing operators may tow a vehicle             17         Q. Okay. And do you see under
18   illegally parked on private property upon      18   B: The police radio room supervisor will
19   compliance with all applicable provisions      19   ensure that: Information received by
20   set forth in this appendix. And then 1         20   Police Radio from private towing
21   is: Police supervisors will be called to       21   operators/dispatchers regarding vehicles
22   the scene of all disputes involving            22   illegally parked on private property is
23   towing operators and vehicle operators.        23   promptly entered into the PCIC Towed
24             Is that the only, to your            24   Vehicle File?

                                          Page 44                                             Page 45
 1        A. I see that.                             1        A. Correct.
 2        Q. All right. And it has the               2        Q. And police radio is supposed
 3   information which will include a location       3   to input that into the system?
 4   removed from and location of storage,           4        A. Correct.
 5   make, model and color of the towed              5        Q. Okay. And when it says A,
 6   vehicle, registration number, license,          6   location removed from and location of
 7   and/or VIN, reason for towing the               7   storage, is the location of storage, is
 8   vehicle, the name of the towing operator        8   that to your understanding where the
 9   and towing company, and registration            9   vehicle has been taken?
10   number of the towing vehicle.                  10        A. Yes. In most situations,
11             Did you see that, Lieutenant         11   they take it to their secure lot, and you
12   Anderson?                                      12   have to go retrieve your car from their
13        A. I see all that.                        13   lot.
14        Q. All right. And this part of            14        Q. Got it. Okay. Is it --
15   the directive is connected to when a           15   does this type of information from the
16   private tow operator is removing an            16   private tow operators show up on the tow
17   illegally parked vehicle from private          17   folder?
18   property, correct?                             18        A. I believe so. It should.
19        A. Yes.                                   19        Q. All right. So on the tow
20        Q. In this situation, though,             20   folder, there can be information about
21   the tow operator is required apparently        21   relocated vehicles by the tow squad and
22   at least under this directive to provide       22   also vehicles that were towed by private
23   all this information to the police radio,      23   tow operators because they were illegally
24   correct?                                       24   parked on private property?

                                                                       12 (Pages 42 to 45)
                                          Page 50                                             Page 51
 1   temporary no stopping signs, correct?           1   signs. They are probably 15 by 25 or
 2         A. Correct.                               2   something like that that you see posted
 3         Q. And the issue date of this             3   generally with red that says temporary no
 4   directive is May 27, 2009, same effective       4   parking. They are issued by the streets
 5   date, and then updated 12/08/11.                5   department, utilized by streets, police,
 6            So take a look at this. And            6   water department. They are also provided
 7   can you tell me what this directive is          7   for private events. You know, if you are
 8   designed to do?                                 8   having a moving truck coming and you can
 9         A. This directive is regarding            9   apply for your streets department permit
10   the temporary no stopping signs that are       10   to get the parking spots in front of your
11   posted for a variety of reasons and how        11   house and then they will give you signs
12   it's supposed to be handled when there         12   to post. There is a variety of reasons
13   are violations.                                13   why they get posted, but just to keep
14         Q. And do you see the policy is          14   people from parking in certain areas.
15   under 1: A Parking Violation Reports           15        Q. And you said that the
16   will not be issued to vehicles parked          16   permits to obtain a temporary no stopping
17   prior to the posting of "Temporary No          17   sign are issued by the streets
18   Stopping" signs.                               18   department?
19            Do you see that?                      19        A. That's correct. In the case
20         A. Yes.                                  20   of private, yes.
21         Q. All right. And the                    21        Q. Private, right. Okay.
22   temporary no stopping signs, what are          22        A. A private person without
23   those?                                         23   going through that process obviously.
24         A. They are the white cardboard          24        Q. All right. So the police

                                          Page 52                                             Page 53
 1   department also from time to time puts up       1   signs directive applies regardless of who
 2   temporary no stopping signs; is that            2   got the temporary -- or who put up the
 3   right?                                          3   temporary no stopping sign; is that
 4        A. Correct.                                4   right?
 5        Q. Is that the tow squad's job?            5        A. Yes.
 6        A. No.                                     6        Q. Okay. Meaning, I guess,
 7        Q. Okay. All right. Do you                 7   yeah -- you said that, but just meaning
 8   have any idea how long before the               8   that if I got one because I was moving
 9   temporary no stopping is to go into             9   and needed a space for a moving van or
10   effect signs are supposed to be put up?        10   the police department put it up for some
11        A. I don't know that it's                 11   reason or streets put it up?
12   specifically listed in here. I believe         12        A. Well, I am only looking at
13   the general rule of thumb is always 48         13   the first page here. I don't know if
14   hours, when possible.                          14   they changed anything since the last time
15        Q. Do you know if anyone in               15   I looked at it. But I believe this is
16   connection with the private people who         16   referring to all situations with no
17   obtain these, if anybody checks to see if      17   parking -- temporary no parking signs.
18   those signs are going up 48 hours in           18        Q. Okay. Great. Thank you.
19   advance?                                       19             Do you see under B: Before
20        A. I do not know.                         20   issuing a summons for violations of
21        Q. In connection with the                 21   "Temporary No Stopping" regulations,
22   temporary no stopping -- I know you said       22   police personnel will, and number 1 is:
23   this, but I just want to clarify at least      23   Make every effort to locate owner?
24   in my mind -- this temporary no stopping       24             Do you see that?

                                                                       14 (Pages 50 to 53)
                                          Page 54                                           Page 55
 1        A. Yes, I do.                              1   number for the owner?
 2        Q. Can you tell me what goes               2        A. No.
 3   into those efforts?                             3        Q. No. Okay.
 4        A. Generally, we run the tag or            4            If the police officer is
 5   the VIN number to locate the owner's            5   able to find out the name and address of
 6   information.                                    6   the owner, what is the police officer
 7        Q. And who within the police               7   instructed to do after that?
 8   department runs the VIN number?                 8        A. Well, if it's local enough,
 9        A. It would be whatever officer            9   they can go to the address and try and
10   is assigned out there prior to the             10   get the owner to move the vehicle or they
11   vehicle being towed.                           11   can ask somebody else who might be closer
12        Q. Okay. Does he have like a              12   to do that. However, very often, owners
13   computer with him that he can do that          13   are not local, and therefore we can't
14   while he is out on the street?                 14   really do anything with that information.
15        A. As long as there's an MDC              15        Q. Is any -- do you try to find
16   assigned to the vehicle that they are in,      16   a telephone number for the owners when
17   then they can just do it that way or they      17   you find out their name and address?
18   can do it through police radio.                18        A. We generally really don't
19        Q. All right. I see. All                  19   have time to do that.
20   right. By doing that, are you able to          20        Q. Okay. Are any type of
21   obtain the -- can you obtain the name and      21   written materials left at the residence
22   address of the owner of the vehicle?           22   of the owner saying you have got to move
23        A. Yes.                                   23   your car or it's going to get towed?
24        Q. Can you obtain a phone                 24        A. Generally, at that point, if

                                          Page 56                                           Page 57
 1   they are not able to locate the owner or        1   to be posted 48 hours ahead of time, or
 2   there is no response, then the vehicle is       2   at least that was the common practice
 3   getting towed, so there is no point             3   that they were supposed to be, is a
 4   leaving a message that they need to move        4   police officer supposed to obtain the
 5   their car. It's kind of at that                 5   listing more than 48 hours in advance --
 6   now-or-never point.                             6   excuse me -- more than 48 hours before
 7        Q. Would it be possible to                 7   any towing would have to commence?
 8   leave a message that says your car has          8        A. I don't understand your
 9   been towed?                                     9   question.
10        A. I guess they could. But                10        Q. Okay. I think
11   they won't know where it's towed to yet,       11   understandably. Let me try again. I
12   so it's kind of a pointless message.           12   appreciate you doing that.
13        Q. Okay. And we will look at a            13             2 says, under B2, that
14   sign later, but the sign -- well, we will      14   police personnel will Contact the
15   wait until we look at the sign.                15   District Operations Room Supervisor (ORS)
16             And No. 2, under B, do you           16   and obtain a listing of all license plate
17   see the police officer is to contact the       17   numbers of the vehicles parked at the
18   district operations room supervisor or         18   location prior to the posting of the
19   ask and obtain a listing of all license        19   signs, which I believe we can correctly
20   plate numbers of the vehicles parked at        20   identify as the temporary no stopping
21   the location prior to the posting of the       21   signs.
22   signs? Do you see that?                        22             And my question is, does
23        A. Yes.                                   23   that mean that 48 hours in advance of the
24        Q. So if the signs are supposed           24   area becoming a temporary no stopping

                                                                      15 (Pages 54 to 57)
                                         Page 102                                           Page 103
 1            THE WITNESS: I have                    1   tickets the vehicle, whether or not it
 2        received requests for documents            2   has the ability to check the tow file to
 3        through the City several times for         3   see if it's a relocated vehicle?
 4        various things, so I don't know if         4             MS. REINHART: Objection.
 5        it was for this particular case or         5             THE WITNESS: I don't know
 6        not.                                       6        if they have the ability or not.
 7   BY MR. HOESE:                                   7             MR. HOESE: Okay. Well, I
 8        Q. Okay. What types of                     8        appreciate your time today,
 9   documents were you asked for?                   9        Lieutenant Anderson. And I have
10            MS. REINHART: Objection.              10        no further questions at this time.
11            THE WITNESS: Just usually             11             MS. REINHART: I have just a
12        tow logs or tow reports.                  12        few, if we have a couple more
13   BY MR. HOESE:                                  13        minutes.
14        Q. Were you able to find them             14             MR. HOESE: We do. I just
15   when you were asked for them?                  15        wanted to -- I paused. But I
16        A. I believe I did, some of               16        understand that we got an email,
17   them and others may have been either           17        Michelle, from your colleague
18   outdated or they just couldn't be              18        saying that some additional
19   located. My facility is not the best, so       19        documents have been located, I
20   we have water damage problems sometimes,       20        think, perhaps with respect to tow
21   so there may have been issues with that.       21        files. So I do want to keep the
22        Q. Lieutenant Anderson, when              22        deposition open pending our review
23   the -- do you know whether or not before       23        of those documents. So that's the
24   the Philadelphia Parking Authority             24        last thing I wanted to say.

                                         Page 104                                           Page 105
 1            MS. REINHART: Okay. Just               1   this, that when a private tow company
 2        let us know what that review looks         2   relocates a vehicle that a local police
 3        like.                                      3   officer is supposed to come out to, I
 4            MR. HOESE: Okay. Will do.              4   believe it was, write a ticket; was that
 5        Thanks again, Lieutenant Anderson.         5   correct?
 6            THE WITNESS: No problem.               6        A. That's correct.
 7                - - -                              7        Q. Do you know whether private
 8              EXAMINATION                          8   tow companies always follow that process?
 9               - - -                               9        A. I don't know for sure, no.
10   BY MS. REINHART:                               10        Q. Do you know whether -- do
11        Q. Lieutenant, I have just a              11   you know any examples of instances that
12   few questions for you. First of all, is        12   entities may call a private tow company
13   there any way for you to know whether a        13   without calling the police -- the local
14   private tow company provides the City          14   police district first?
15   with all the information needed in order       15        A. There are times where -- we
16   to collect information about any               16   will use construction companies as an
17   relocations that they do?                      17   example, that I am pretty sure that they
18        A. The only access I would have           18   have relocated cars without necessarily
19   to that information would be if it was         19   following all the directives as we are
20   put into the tow folder. But other than        20   supposed to follow. So, you know, they
21   that, I don't know if they comply on a         21   are trying to get their job done, and
22   daily basis.                                   22   they need a vehicle moved. They are
23        Q. I believe earlier you                  23   going to not be as particular about
24   testified, and correct me if I'm wrong on      24   following all the rules as they should

                                                                    27 (Pages 102 to 105)
                                         Page 106                                           Page 107
 1   be.                                             1   about relocations, Lieutenant Anderson?
 2        Q. And I believe you said "I               2            MS. REINHART: Objection.
 3   believe" or something along that line.          3        Just so I know, when are we
 4   It sounds like you don't know of specific       4        talking about?
 5   instances; it's more of a broad                 5   BY MR. HOESE:
 6   understanding that this occurs?                 6        Q. Well, Lieutenant Anderson,
 7        A. Yeah, yeah. This would be               7   have you read statements by yourself in
 8   stories I have heard while discussing           8   articles in The Philadelphia Inquirer
 9   things with different people in the             9   about relocation within the last two
10   construction industry. I don't have any        10   years?
11   knowledge of a specific date or time that      11        A. I haven't read the articles,
12   it happened, no.                               12   no.
13            MS. REINHART: I have no               13        Q. Okay. Have you talked to
14        further questions. Thank you for          14   Philadelphia Inquirer reporters about
15        your time.                                15   relocation?
16            MR. HOESE: Okay. I just               16        A. I was involved in a meeting
17        have a couple follow-ups based on         17   with the public informations officer and
18        your examination by Ms. Reinhart.         18   reporters. I am not sure what exact
19               - - -                              19   publication they were with, but...
20              EXAMINATION                         20        Q. Okay.
21              - - -                               21            MR. HOESE: Let's bring up
22   BY MR. HOESE:                                  22        another document.
23        Q. Do you recall being                    23   BY MR. HOESE:
24   interviewed by someone at the Inquirer         24        Q. Okay. Can you see this,

                                         Page 108                                           Page 109
 1   Lieutenant Anderson? It's a printout of         1   Passing the buck. And then: Lieutenant
 2   an Inquirer article.                            2   Michael Anderson, head of the police
 3       A. Yes, I can.                              3   department's tow squad, said construction
 4       Q. All right. It has                        4   companies that hire tow companies to
 5   Borderline Illegal: Courtesy Tows Remain        5   relocate cars could be partially to
 6   Philly's Persistent Parking Nightmare by        6   blame. He said a company supervisor is
 7   William Bender?                                 7   supposed to keep a list of cars that had
 8       A. Yes, I see it.                           8   been moved, but sometimes the
 9       Q. Do you remember speaking to              9   construction is completed by the time
10   Mr. Bender?                                    10   vehicle owners realize their car is
11            MS. REINHART: Objection.              11   missing.
12            You can answer.                       12            And you are quoted as
13            THE WITNESS: I remember,              13   saying: There is no foreman to see,
14       like I said, being in that meeting         14   Anderson said. Those people have packed
15       with Mr. Bender, I believe there           15   up and moved to another location.
16       was somebody else there, and the           16            Do you remember telling that
17       public information officer.                17   to the reporter?
18   BY MR. HOESE:                                  18        A. Yes.
19       Q. Okay. That's the public                 19        Q. And that's essentially what
20   information officer from the police            20   you just said in response to
21   department?                                    21   Ms. Reinhart's question, correct?
22       A. That's correct.                         22            MS. REINHART: Objection.
23       Q. All right. And we are                   23            You can answer.
24   scrolling down here, and you see it has:       24            THE WITNESS: Yeah, that's

                                                                   28 (Pages 106 to 109)
Exhibit G
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Exhibit H
                                                       Page 1
             IN THE UNITED STATES DISTRICT COURT
          FOR THE EASTERN DISTRICT OF PENNSYLVANIA

KATHLEEN EASTMAN, MARY        :
HENIN, AMANDA HAY, and        :
MATTHEW ALLEN,                :
individually, and on          :
behalf of all others          :
similarly situated,           : NO: 21-02248
                              :
          Plaintiffs,         :
    v.                        :
                              :
THE CITY OF PHILADELPHIA,     :
                              :
          Defendant.          :
                             - - -
                 Friday, October 7th, 2022
                             -   -   -
         Whereupon, the teleconference deposition of
 STEPHEN LORENZ, took place pursuant to notice,
 commencing at 1:00 p.m., on the above date, before
 Krista Morici, a Professional Court Reporter and Notary
 Public.

                             -   -   -




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                         www.MagnaLS.com
                                              Page 10                                                     Page 11
 1   closure permit for construction."                       1   A.      If the permit is issued to the applicant
 2   A.       Yes, sir.                                      2   and the applicant schedules the work.
 3   Q.       And it has: "The Department of Streets         3   Q.      After the licenses is issued, does the
 4   issues permits for street closures related to:" And     4   Street's Department have any more involvement with
 5   it has a number of things under that, correct?          5   the applicant?
 6   A.       Yes.                                           6   A.      Only if the applicant reaches back out to
 7   Q.       And it says: Who -- if you scroll down a       7   us needing an extension of their permit because they
 8   little bit farther: "Applicants must hold a             8   did not complete the work for whatever reason.
 9   Contractor License or Commercial Activity License."     9   Outside of that, no, we do not have any other
10   Do you see that?                                       10   interaction.
11   A.       Yes.                                          11   Q.      Does the Street's Department -- well,
12   Q.       So if I'm a contractor or someone who owns    12   strike that.
13   a commercial activity licenses, do I use this          13          In order -- Mr. Lorenz, are applicants
14   website to apply for a permit to close the street?     14   supposed to notify the public that the street is
15   A.       Yes, sir.                                     15   going to be closed for a certain amount of time?
16   Q.       And after I submit the application, what      16   A.      It depends upon on the work that's being
17   happens?                                               17   done.
18   A.       The application is reviewed and a permit      18   Q.      Okay. And what cases would the
19   is issued to -- for the work to occur.                 19   applicant -- would you expect the applicant would
20   Q.       All right. And there's a few attached to      20   notify the public that a street is going to be
21   this that we see at the bottom, correct?               21   closed?
22   A.       Yes, sir.                                     22   A.      If it's a -- let's see, a large scale
23   Q.       After the permit is issued, can you tell      23   public works project, or a capital improvement
24   me what happens then?                                  24   project, where the street will be closed for

                                              Page 12                                                     Page 13
 1   multiple days or weeks, if the work entails a           1   Q.       But before the street is closed, are you
 2   closure even for a day, they may or may not reach       2   aware of any requirements that the -- that the
 3   out to the general folks on the block. Outside of       3   permit holder notified people who are parked on the
 4   that depending on the street that they are working      4   street that there's going to be a temporary no
 5   on, they may need police assistance to close off the    5   stopping area?
 6   street, and then that work gets generated through       6   A.       The normal process is, they would post a
 7   the block.                                              7   sign where they need to perform the work.
 8   Q.       Does the Street's Department put up            8   Q.       All right. Whose responsibility would it
 9   temporary no-stopping signs?                            9   be to post the sign?
10   A.       Yes, we do.                                   10   A.       The applicants.
11   Q.       Do applicants come into your office to        11   Q.       Okay. Does the Street's Department
12   obtain those, to put up --                             12   monitor the applicants to see whether or not they
13   A.       They can.                                     13   are putting up any signs to notify people?
14   Q.       But they are not required to; is that         14   A.       No, we do not.
15   correct?                                               15   Q.       Does the applicant have to provide any
16   A.       They do not have to come into the             16   kind of documentation that it did so?
17   Municipal Service Building, they can also go to the    17   A.       No, they do not.
18   local police district.                                 18   Q.       Do you know what happens if there's a
19   Q.       Okay. Now, I assume that it's -- that the     19   street closure and there are vehicles parked on the
20   contractors request permits to close streets where     20   street at the time the work is to commence?
21   there's free parking?                                  21   A.       That the cars need to be relocated or
22   A.       The type of parking does not make a           22   removed from the street.
23   difference, if the work needs to occur, it doesn't     23   Q.       Does the Street's Department have any
24   matter if it's free, metered, authorized, et cetera.   24   involvement in actually removing cars in that


                                                                                   4 (Pages 10 to 13)
                                              Page 14                                                     Page 15
 1   situation?                                              1   towed?
 2   A.       If it's work that the Street's Department      2   A.      No, sir.
 3   is performing.                                          3   Q.      Are you aware of any requirement that the
 4   Q.       Okay. But right now, if it's a                 4   contractor or its subcontractor notify anybody about
 5   contractor, does the Street's Department have any       5   the information about the vehicles that were towed?
 6   involvement in removing cars from the no stopping       6   A.      Yes, sir.
 7   area?                                                   7   Q.      Okay. What do you know about that?
 8   A.       No, we do not.                                 8   A.      The process is when a vehicle is towed
 9   Q.       Do you know who takes responsibility for       9   the -- what we'll call it the tow list, which is
10   removing the cars?                                     10   basically, you know, a piece of paper that says,
11   A.       It would be the subcontractor of the          11   okay, blue Honda, license plate number, whatever,
12   applicant.                                             12   you know, was towed from this address and relocated
13   Q.       And the subcontractor -- excuse me.           13   to, you know, another address and that document is
14          Would the subcontractor be a towing             14   provided to the local police district.
15   company?                                               15   Q.      Okay. So it's usually a contractor or a
16   A.       Usually.                                      16   subcontractor; is that right?
17   Q.       All right. Does -- if a towing company        17   A.      It's usually the towing company that does
18   subcontracted by a contractor tows cars from a         18   that.
19   street that's temporarily closed, does the             19   Q.      Okay. Do you know if there's a certain
20   contractor have to report to the Streets any           20   amount of time within which they have to -- the
21   information about the vehicles that were towed?        21   towing company has to provide that information to
22   A.       No, sir.                                      22   the police district?
23   Q.       Does the tow operator have to report to       23   A.      It's either when they are done or by the
24   Streets any information about the vehicles that were   24   end of the shift.

                                              Page 16                                                     Page 17
 1   Q.       Okay. How long are the shifts usually?         1   information on the back side.
 2   A.       Depending on the job, six to eight hours.      2   Q.      Okay. So who is responsible for filling
 3   Q.       Okay. And there's are -- again, I know         3   out the from and to on the top?
 4   you already said it, but I want to make sure. These     4   A.      The contractor.
 5   are towing companies that are contracted with -- by     5   Q.      And do you see at the bottom, it says,
 6   the contractors who got the street closure permit;      6   authorized by?
 7   is that right?                                          7   A.      Yes, sir.
 8   A.       Yes, sir.                                      8   Q.      Do you put anything down there?
 9                   - - -                                   9   A.      The contractor, and there's no set rule as
10                  (Whereupon, Exhibit Lorenz-2 was        10   to what is written down there, but depending on the
11          marked for identification.)                     11   contractor, they may handwrite in there police, the
12                   - - -                                  12   might just write the word permit, they may put the
13   BY MR. HOESE:                                          13   permit number of there. Some of them actually put
14   Q.       I'm going to show you what's been marked      14   my name on the bottom of it. Mine is on the bottom
15   as Lorenz-2. Mr. Lorenz, you mentioned that            15   of the permit. It's unusual when I drive around and
16   temporary no stopping sign, and if you scroll down,    16   I see my name, you know, at the bottom of a
17   you can see the whole sign.                            17   temporary parking sign, but that's life in the big
18   A.       Yes, sir.                                     18   city.
19   Q.       Are these the no-stopping signs that the      19          So the more conscientious or -- I'll use
20   Street's Department has printed?                       20   the word experienced contractors may actually put at
21   A.       Yes.                                          21   the bottom of it where it says, "authorized," the
22   Q.       And is there any information that's on the    22   reason why. And it's usually the foreman that does
23   back of this sign or is this it right here?            23   that, so they may actually, you know, right on there
24   A.       Correct, that is it. There's no               24   plumbing work, or resurfacing, or something along


                                                                                   5 (Pages 14 to 17)
